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                                     EXHIBIT A

Row    Docket No.       Plaintiff Name           BG ID             Plaintiff Firm
 1.   2:14-cv-01877   Goodwin, Rose              1350    Varadi, Hair & Checki LLC
                      Marie
 2.   2:14-cv-02014   Brien, James J., Sr.       1038    Morris Bart, LLC
 3.   2:14-cv-02107   Randazzo, Linda            1382    Morris Bart, LLC
 4.   2:14-cv-02216   Varnado, Joann             1565    Martzell & Bickford, APC
 5.   2:14-cv-02258   Braswell,                  1080    Barrios Kingsdorf & Casteix,
                      Christopher                        LLP; Schlichter Bogard & Denton,
                                                         LLP
 6.   2:14-cv-02427   Brown, Claudette           1039    Morris Bart, LLC
 7.   2:14-cv-02444   Ferguson, Patricia         1152    Morris Bart, LLC
 8.   2:14-cv-02528   Davis, Samantha            1236    Morris Bart, LLC
 9.   2:14-cv-02593   McKevitt, Virginia         1555    The Dugan Law Firm, APLC
10.   2:14-cv-02596   Sanders, Theodore          1276    Morris Bart, LLC
11.   2:14-cv-02660   Hogan, Billy               1556    The Dugan Law Firm, APLC; Law
                                                         Offices of Frank J. D'Amico, Jr.
12.   2:14-cv-02661   Manale, Peter, Jr.         1552    The Dugan Law Firm, APLC; Law
                                                         Offices of Frank J. D'Amico, Jr.
13.   2:14-cv-02669   Ibanez, Harriet            1381    Morris Bart, LLC
14.   2:14-cv-02720   Boudreaux, Joseph          1026    Morris Bart, LLC
                      J., Jr.
15.   2:14-cv-02847   Nicholson, Edwin           1073    Levin, Papantonio, Thomas,
                                                         Mitchell, Rafferty & Proctor, P.A.;
                                                         Schlichter Bogard & Denton, LLP
16.   2:14-cv-02848   Packard, Nancy             1909    Aylstock, Witkin, Kreis &
                                                         Overholtz PLLC
17.   2:14-cv-02849   Lemp, Mary K.              1429    Schlichter Bogard & Denton, LLP
18.   2:14-cv-02850   Haney, William F.          1250    Schlichter Bogard & Denton, LLP
19.   2:14-cv-02852   Rucker, Sharon             1070    Levin, Papantonio, Thomas,
                                                         Mitchell, Rafferty & Proctor, P.A.
20.   2:14-cv-02853   Pennell, Stanley           2175    Schlichter Bogard & Denton, LLP;
                                                         Douglas & London, PC
21.   2:14-cv-02855   Biven, Robert              1801    Gori Julian & Associates, PC
22.   2:14-cv-02856   Mulroney, Michael          1507    Schlichter Bogard & Denton, LLP
23.   2:14-cv-02857   Bolton, Jeannetta          1249    Jones Ward PLC
24.   2:14-cv-02858   Cox, Marilynne A.          1110    Jones Ward PLC


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Row    Docket No.       Plaintiff Name         BG ID             Plaintiff Firm
25.   2:14-cv-02863   Boynton, Shirley         1156    Douglas & London, PC
26.   2:14-cv-02864   Uselton, Carolyn         2994    Douglas & London, PC
27.   2:14-cv-02865   Green, Julia             1178    Douglas & London, PC
28.   2:14-cv-02866   Armstrong, Dale          1079    Robert J. DeBry & Associates;
                                                       Schlichter Bogard & Denton, LLP
29.   2:14-cv-02867   McGowan, Ruth E.         1109    Cleary Shahi & Aicher, PC; Levin,
                                                       Papantonio, Thomas, Mitchell,
                                                       Rafferty & Proctor, P.A.
30.   2:14-cv-02868   Dalrymple, Ronald        1251    Hill, Peterson, Carper, Bee &
                      D.                               Deitzler, PLLC
31.   2:14-cv-02875   Maggard, Lillian         1462    Baron & Budd, PC; Grant &
                                                       Eisenhofer PA
32.   2:14-cv-02886   Ducote, Karen A.         1551    The Dugan Law Firm, APLC; Law
                                                       Offices of Frank J. D'Amico, Jr.
33.   2:14-cv-02887   Head, Gail A.            1554    The Dugan Law Firm, APLC; Law
                                                       Offices of Frank J. D'Amico, Jr.
34.   2:14-cv-02888   Leischner, Delores       1772    Aylstock, Witkin, Kreis &
                      L.                               Overholtz PLLC
35.   2:14-cv-02889   Delatte, Carolyn         1550    The Dugan Law Firm, APLC; Law
                                                       Offices of Frank J. D'Amico, Jr.
36.   2:14-cv-02904   Robinson, Ronald         1916    Domengeaux, Wright, Roy, &
                      L.                               Edwards, LLC
37.   2:14-cv-02907   Ruiz, Gloria             1199    Grant & Eisenhofer PA; Baron &
                                                       Budd, PC
38.   2:14-cv-02908   Ciolino, Ann             1615    Murray Law Firm; Chehardy,
                                                       Sherman, Ellis, Murray, Recile,
                                                       Griffith, Stakelum & Hayes, LLC
39.   2:14-cv-02912   Triplett, Earl           1631    Grant & Eisenhofer PA
40.   2:14-cv-02914   Ramadan, Faisal          1126    Capretz & Associates
41.   2:14-cv-02923   Dragg, Alvin             1367    Morris Bart, LLC
42.   2:14-cv-02924   Crawford, Iris           1433    Baron & Budd, PC
43.   2:14-cv-02925   Jonas, Sara Jean         1174    Baron & Budd, PC
44.   2:14-cv-02926   Tonyan, Tatyana          1609    Hilliard Munoz Gonzales LLP
45.   2:14-cv-02927   Haney, Marilyn S.        2488    Simon Greenstone Panatier
                                                       Bartlett, PC; Gori Julian &
                                                       Associates, PC
46.   2:14-cv-02928   Harding, Henry           2548    Burg Simpson Eldredge Hersh &
                                                       Jardine, PC
47.   2:14-cv-02929   Lindsey, Scott           1777    Aylstock, Witkin, Kreis &
                                                       Overholtz PLLC

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Row    Docket No.       Plaintiff Name            BG ID             Plaintiff Firm
48.   2:14-cv-02931   Sinclair, Randolph          1085    Pope, McGlamry, Kilpatrick,
                                                          Morrison & Norwood, PC
49.   2:14-cv-02932   West, Kimberly              1749    Childers, Schlueter & Smith, LLC
50.   2:14-cv-02933   Van Dorn,                   1053    Tor Hoerman Law LLC
                      Theodore, Jr.
51.   2:14-cv-02934   Newman, Richard             1042    Schlichter Bogard & Denton, LLP;
                      M.                                  NastLaw LLC
52.   2:14-cv-02935   Mize, Howard                1050    Tor Hoerman Law LLC
53.   2:14-cv-02937   Marrs, Larry L.             1941    Flint & Associates, LLC
54.   2:14-cv-02938   Moore, Elaine K.            1906    Gori Julian & Associates, PC
55.   2:14-cv-02940   Sokol, Leroya               1927    Flint & Associates, LLC
56.   2:14-cv-02941   Banks, Annie                1188    Cory Watson, PC
57.   2:14-cv-02942   Silvey, Douglas             1360    Morris Bart, LLC
58.   2:14-cv-02943   St. Amand, Lionel           1256    Morris Bart, LLC
59.   2:14-cv-02944   Taggart, Judith Gail 1106           Kemp, Jones & Coulthard, LLP
60.   2:14-cv-02945   Mathena, Tony               1182    Schachter, Hendy & Johnson,
                                                          PSC; O'Brien Law, LLC
61.   2:14-cv-02979   Champagne, Cliff J. 1230            Bruno & Bruno, LLP
62.   2:14-cv-02991   Hillebrandt,                1262    Morris Bart, LLC
                      Frances
63.   2:14-cv-02994   Hampton, Theresa            1420    Criden & Love, PA; Grant &
                                                          Eisenhofer PA
64.   2:14-cv-02996   Hansen, Harold              1031    Baron & Budd, PC; Goza &
                                                          Honnold, LLC
65.   2:14-cv-02999   Skipworth, Patsy            1298    Douglas & London, PC
66.   2:14-cv-03000   Greene, Joe                 1176    Douglas & London, PC
67.   2:14-cv-03001   Mires, Shields              1160    Douglas & London, PC
68.   2:14-cv-03003   Anderson, Susan             1369    Grant & Eisenhofer PA
69.   2:15-cv-00006   Phillips, Collins C.,       1268    Irpino Law Firm
                      Jr.
70.   2:15-cv-00023   Raines, Misty               1060    Baron & Budd, PC
71.   2:15-cv-00041   Banks, Joann                1744    Jim S. Hall & Associates, LLC
72.   2:15-cv-00043   Sanders, Eric               1954    Sangisetty Law Firm, LLC
73.   2:15-cv-00068   Castille, Michelle          2049    Aylstock, Witkin, Kreis &
                                                          Overholtz PLLC
74.   2:15-cv-00082   Burton, Vanessa             1211    Douglas & London, PC; Salim-
                                                          Beasley, LLC
                                              3
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Row    Docket No.       Plaintiff Name         BG ID             Plaintiff Firm
75.   2:15-cv-00084   Gulsby, Victoria         1915    Beasley, Allen, Crow, Methvin,
                                                       Portis & Miles, PC
76.   2:15-cv-00086   Stevenson, Peggy         1129    Ferrer, Poirot & Wansbrough
77.   2:15-cv-00087   Gentry, Robert R.        1957    Lynch Law Practice, PLLC
78.   2:15-cv-00090   Lindsey, Carol B.        1212    Douglas & London, PC; Salim-
                                                       Beasley, LLC
79.   2:15-cv-00116   Ingram, Mary Ann         1055    Jamie A. Johnston, PC
80.   2:15-cv-00117   Babcock, Janet           1305    Levin, Papantonio, Thomas,
                                                       Mitchell, Rafferty & Proctor, P.A.;
                                                       Herman, Herman & Katz, LLC
81.   2:15-cv-00118   Hamilton, Rufus          1005    Anapol Schwartz; Miller
                                                       Weisbrod, LLP
82.   2:15-cv-00119   Senter, Kenneth          1054    Seeger Weiss LLP
83.   2:15-cv-00120   Williamson,              1006    Anapol Schwartz; Miller
                      Timothy L.                       Weisbrod, LLP
84.   2:15-cv-00122   Chase, Matthew           2043    Keller Rohrback LLP
85.   2:15-cv-00131   Mowrey, Barbara          1257    Levin, Papantonio, Thomas,
                      A.                               Mitchell, Rafferty & Proctor, P.A.
86.   2:15-cv-00132   LeBlanc, Ronald J.       1840    The Driscoll Firm, PC
87.   2:15-cv-00133   McCormack,               1800    Meyers & Flowers, LLC; Childers,
                      Dorothy                          Schlueter & Smith, LLC
88.   2:15-cv-00134   Walker, James            1807    Lieff, Cabraser, Heimann &
                                                       Bernstein, LLP; Barrios Kingsdorf
                                                       & Casteix, LLP
89.   2:15-cv-00135   McKinney, Ronnie         1449    Motley Rice LLC
                      Wilson
90.   2:15-cv-00136   Harper, Harry            1517    Motley Rice LLC
                      Donald
91.   2:15-cv-00137   Head, Mary Jo            1215    Douglas & London, PC; Salim-
                                                       Beasley, LLC
92.   2:15-cv-00165   Kissel, Kenneth R.       1267    Barrios Kingsdorf & Casteix,
                                                       LLP; Lieff, Cabraser, Heimann &
                                                       Bernstein, LLP
93.   2:15-cv-00171   Yarnick, Yamina          1903    Flint & Associates, LLC
94.   2:15-cv-00178   Garcia, Reyes            1294    Baron & Budd, PC; Grant &
                      "Ray"                            Eisenhofer PA
95.   2:15-cv-00180   James, Mary              1562    Martzell & Bickford, APC; Fayard
                                                       & Honeycutt
96.   2:15-cv-00183   Eaton, Richard           1508    Cory Watson, PC; Sommerman &
                                                       Quesada, LLP


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Row     Docket No.       Plaintiff Name          BG ID             Plaintiff Firm
97.    2:15-cv-00184   Stallings, Kenneth        2439    Heninger Garrison Davis, LLC;
                                                         Southern Institute for Medical &
                                                         Legal Affairs
98.    2:15-cv-00185   Christian, Grady          1829    Burke Harvey, LLC;
                                                         Shuttlesworth Lasseter, LLC;
                                                         Crumley Roberts
99.    2:15-cv-00187   Bridwell, Mary L.         1072    Edwards & de la Cerda PLLC
100.   2:15-cv-00188   Hamilla, Carole           1338    Scott & Scott LLP
101.   2:15-cv-00189   Howard, Tara              1539    Morgan & Morgan Complex
                                                         Litigation Group
102.   2:15-cv-00191   Cannity, John S.          1635    Motley Rice LLC
103.   2:15-cv-00192   Tatom, Nancy              1632    Motley Rice LLC
104.   2:15-cv-00193   Hartman, Ann              2193    Simmons Hanly Conroy
105.   2:15-cv-00196   Williams, Annie           1172    Niemeyer, Grebel & Kruse LLC
106.   2:15-cv-00197   Fuller, Bernadette        1836    The Driscoll Firm, PC
107.   2:15-cv-00199   Grantz, Victoria A.       1837    The Driscoll Firm, PC
108.   2:15-cv-00200   Salama, Nadia             1934    The Gorny Law Firm, LC;
                                                         Nemeroff Law Firm
109.   2:15-cv-00201   Brown, Carl               1921    Schachter, Hendy & Johnson,
                                                         PSC; Provost Umphrey Law Firm
                                                         L.L.P.
110.   2:15-cv-00202   Miller, Nolton            1124    Morrow, Morrow, Ryan &
                                                         Bassett; Douglas & London, PC
111.   2:15-cv-00204   Vilmer, Arttie R.         1452    Wagstaff & Cartmell, LLP
112.   2:15-cv-00205   Frederickson,             1499    Craig P. Kenny & Associates
                       Sonya
113.   2:15-cv-00206   Moses, Fred               1828    Feldman Graf, P.C.; Burke
                                                         Harvey, LLC; Crumley Roberts
114.   2:15-cv-00207   Shook, Joseph             1723    Sommerman & Quesada, LLP
115.   2:15-cv-00208   Colasanto, Helene         1546    Bernstein Liebhard LLP
116.   2:15-cv-00209   Loverde, Dominick         2076    Sanders Phillips Grossman, LLC
117.   2:15-cv-00210   Carral, Ruth              1150    Douglas & London, PC
118.   2:15-cv-00212   McIntyre, Keith           1620    Douglas & London, PC
119.   2:15-cv-00213   Andersen,                 1368    Motley Rice LLC
                       Elizabeth
120.   2:15-cv-00214   Brown, Alice B.           1205    Motley Rice LLC
121.   2:15-cv-00215   Myers, Ronald             1121    Williams O'Leary, LLC; Ferrer,
                                                         Poirot & Wansbrough
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Row     Docket No.       Plaintiff Name         BG ID            Plaintiff Firm
122.   2:15-cv-00216   Diaz, Nereida            1115    Levin Sedran & Berman
123.   2:15-cv-00218   Sutton, Stephanie        1776    Morgan & Morgan Complex
                                                        Litigation Group
124.   2:15-cv-00222   Craig, Robert            1159    Allen & Nolte, PLLC
125.   2:15-cv-00223   Carothers, General       1342    Steckler Law Group LLP; Morgan
                       H.                               & Morgan Complex Litigation
                                                        Group
126.   2:15-cv-00225   Jettun, Lorene           1929    Provost Umphrey Law Firm
                                                        L.L.P.
127.   2:15-cv-00226   Thorn-Jennings,          1375    The Lanier Law Firm
                       Tamara Ann
128.   2:15-cv-00227   Davis, Jack G.           1366    Watts Guerra LLP
129.   2:15-cv-00228   Willborn, Mary B.        1535    Watts Guerra LLP
130.   2:15-cv-00229   Morris, Edith Jane       1347    Hill, Peterson, Carper, Bee &
                                                        Deitzler, PLLC
131.   2:15-cv-00230   Rose, Nova D.            1427    Hill, Peterson, Carper, Bee &
                                                        Deitzler, PLLC
132.   2:15-cv-00231   Raines, Valorie          1214    Douglas & London, PC; The Bell
                                                        Law Firm, PLLC
133.   2:15-cv-00232   Barthelemy, Bertha       1549    The Dugan Law Firm, APLC; Law
                       J.                               Offices of Frank J. D'Amico, Jr.
134.   2:15-cv-00233   Dedeaux, Sidney          1004    Murphy Law Firm; Fayard &
                                                        Honeycutt
135.   2:15-cv-00243   Blake, Michael           1491    Baron & Budd, PC; Grant &
                                                        Eisenhofer PA
136.   2:15-cv-00250   Weiss, Gail              1500    Bernstein Liebhard LLP
137.   2:15-cv-00253   McDaniel, Velma          2103    Summers, Rufolo & Rodgers, PC;
                                                        The Cochran Firm
138.   2:15-cv-00254   Conner, Larry S.         1437    Summers, Rufolo & Rodgers, PC;
                                                        The Cochran Firm
139.   2:15-cv-00255   Dewolf, John W.          1960    Jensen & Associates
140.   2:15-cv-00256   Harmon, Jeanette         1961    Jensen & Associates
141.   2:15-cv-00257   Marino, Salvatore        1962    Jensen & Associates
142.   2:15-cv-00261   Alexie, Larry James 1161         Aylstock, Witkin, Kreis &
                                                        Overholtz PLLC; Michael Hingle
                                                        & Associates, LLC
143.   2:15-cv-00277   McBride, Robert R.       1763    Domengeaux, Wright, Roy, &
                                                        Edwards, LLC
144.   2:15-cv-00280   Billeaud, Rita           1630    Andrus Wagstaff, PC
145.   2:15-cv-00289   Young, Monty             1122    Morris Bart, LLC

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Row     Docket No.       Plaintiff Name         BG ID             Plaintiff Firm
146.   2:15-cv-00293   Mason, Latosha           1821    Sanders Law Firm, LLC
147.   2:15-cv-00301   Williams, Sidney         1980    Flint & Associates, LLC
                       A., Jr.
148.   2:15-cv-00313   Blatcher, Donna          1331    Smith Stag, LLC
149.   2:15-cv-00326   Kennedy, Norean          1943    Beasley, Allen, Crow, Methvin,
                                                        Portis & Miles, PC
150.   2:15-cv-00327   Yap, Donna               1407    Labaton Sucharow LLP; Law
                                                        Offices of Thomas D. Haklar
151.   2:15-cv-00328   Leahy, Mike              1592    Hilliard Munoz Gonzales LLP
152.   2:15-cv-00329   Kavan, Stanley           1107    Ury & Moskow, LLC
153.   2:15-cv-00331   McCoy, Nathaniel         1928    Flint & Associates, LLC
154.   2:15-cv-00333   Noe, Estel, C.           1324    Jones Ward PLC
155.   2:15-cv-00334   Metcalf, Mary E.         1155    Jones Ward PLC
156.   2:15-cv-00335   Betts, Beverly J.        1814    Hare, Wynn, Newell and Newton,
                                                        LLP
157.   2:15-cv-00338   Donahue, Barbara         1089    Douglas & London, PC
158.   2:15-cv-00339   Cabral, Anthony          2266    Douglas & London, PC
159.   2:15-cv-00340   Clabeaux,                1119    Douglas & London, PC
                       Theodore
160.   2:15-cv-00341   Lipsey, Patricia         1177    Douglas & London, PC
161.   2:15-cv-00342   Fields, Johnny           1747    Douglas & London, PC
162.   2:15-cv-00343   Swords, Charlotte        1181    Schachter, Hendy & Johnson, PSC
163.   2:15-cv-00345   Fagan, Michael J.        1742    Ross Feller Casey, LLP; Douglas
                                                        & London, PC
164.   2:15-cv-00392   Kelly, Johnnie           1351    Morris Bart, LLC
165.   2:15-cv-00397   St. Pierre, Louise       1064    Aylstock, Witkin, Kreis &
                       Gaudet                           Overholtz PLLC; Michael Hingle
                                                        & Associates, LLC
166.   2:15-cv-00412   Hall, Diana              1773    Cory Watson, PC
167.   2:15-cv-00420   Lies, Richard            2369    Napoli Shkolnik & Associates
                                                        LLP
168.   2:15-cv-00421   Swoopes, Johnny          2370    Napoli Shkolnik & Associates
                       W.                               LLP
169.   2:15-cv-00440   Ervin, Joseph W.         1123    Morris Bart, LLC
170.   2:15-cv-00456   Whitley, Dale E.         1058    Watts Guerra LLP
171.   2:15-cv-00457   Baird, Bonnie            1951    Girardi Keese


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Row     Docket No.       Plaintiff Name           BG ID             Plaintiff Firm
172.   2:15-cv-00461   Erquhart, Craig            1239    Kershaw, Cutter & Ratinoff, LLP
173.   2:15-cv-00464   Cochneuer, Lora            1727    Kanner & Whiteley, LLC
174.   2:15-cv-00466   Ginger, Penny Gail         1790    Simmons Hanly Conroy
175.   2:15-cv-00467   Williams, Doris            1266    Morgan & Morgan Complex
                                                          Litigation Group; Steckler Law
                                                          Group LLP
176.   2:15-cv-00468   Everson, Eleanor           1157    Simmons Hanly Conroy
177.   2:15-cv-00469   Costonis, Anthony          1094    Rebecca S. Vinocur, PA; Waters
                       F.                                 & Kraus, LLP
178.   2:15-cv-00470   Matthews, Daphne           1184    Adler Law Offices, Ltd.
179.   2:15-cv-00471   Ward, Linda                1120    Ferrer, Poirot & Wansbrough
180.   2:15-cv-00472   Guthrie, Gilliam           1075    Schachter, Hendy & Johnson,
                                                          PSC; Schlichter Bogard & Denton,
                                                          LLP
181.   2:15-cv-00473   Maillet, Virginia          3122    Brian Caubarreaux & Associates
182.   2:15-cv-00474   Lewis, Lisa                1061    McEwen Law Firm, Ltd.
183.   2:15-cv-00475   Wright, William R., 1213           Allen Kuehnle Stovall & Neuman
                       Jr.                                LLP; Douglas & London, PC
184.   2:15-cv-00499   Calvert, Sarah       1425          The Cochran Firm
                       Josephine Brown
185.   2:15-cv-00500   Norris, Sarah Butler 1405          The Cochran Firm
186.   2:15-cv-00501   Cockrell, Ruby             1290    The Cochran Firm
                       Carpenter
187.   2:15-cv-00502   Sims, Robbie               2096    The Cochran Firm
                       Denise Harris
188.   2:15-cv-00503   Bailey, John               1430    The Cochran Firm
                       Richard
189.   2:15-cv-00505   Dunn, Ruth E.              1896    Maglio Christopher & Toale, PA
190.   2:15-cv-00506   Elliott, Robert Earl       1355    The Cochran Firm
191.   2:15-cv-00507   Loper, Joseph              1318    The Cochran Firm
                       Thomas
192.   2:15-cv-00508   Goodwin, John              1916    The Law Offices of Derriel C.
                                                          McCorvey, L.L.C.; Flint &
                                                          Associates, LLC
193.   2:15-cv-00510   Dubois, Morrison           1185    Reeves & Mestayer, PLLC
194.   2:15-cv-00511   Williams,                  1232    Morris Bart, LLC
                       Beachman
195.   2:15-cv-00512   Moore, David A.            1494    Whitfield Bryson & Mason LLP


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Row     Docket No.       Plaintiff Name         BG ID             Plaintiff Firm
196.   2:15-cv-00513   Stafford, Collette       1765    Anapol Schwartz; Miller
                       M.                               Weisbrod, LLP
197.   2:15-cv-00514   Hall, Michael J.         1625    Anapol Schwartz; Miller
                                                        Weisbrod, LLP
198.   2:15-cv-00515   Butler-Vodio,            1802    Anapol Schwartz; Miller
                       Tammy R.                         Weisbrod, LLP
199.   2:15-cv-00516   Ervin, Hattie L.         1253    Morgan & Morgan Complex
                                                        Litigation Group; Steckler Law
                                                        Group LLP
200.   2:15-cv-00517   Maciasz, Stanley         1359    Patrick E. McFarland, PLLC;
                       M.                               Ferrer, Poirot & Wansbrough
201.   2:15-cv-00519   Soto, Norma              1605    Hilliard Munoz Gonzales LLP
202.   2:15-cv-00520   Busby, Gary              1577    Hilliard Munoz Gonzales LLP
203.   2:15-cv-00521   Eribal, Ricardo D.       1581    Hilliard Munoz Gonzales LLP
204.   2:15-cv-00522   Sullivan, Sharon         1606    Hilliard Munoz Gonzales LLP
                       Kay
205.   2:15-cv-00523   Minz, Charles A.         1595    Hilliard Munoz Gonzales LLP
206.   2:15-cv-00524   Dagley, Dale             1580    Hilliard Munoz Gonzales LLP
207.   2:15-cv-00526   Merrell, Carl            1527    Cohen & Malad, LLP; Hissey
                                                        Kientz, LLP
208.   2:15-cv-00527   Dowell, Hayes            1938    Hearin, LLC; Kennedy Hodges,
                                                        LLP
209.   2:15-cv-00528   Lyons, Deborah           1059    Morris Bart, LLC
210.   2:15-cv-00529   Britton, William         1186    Weitz & Luxenberg, PC
211.   2:15-cv-00530   Hartman, Steven          1719    Weitz & Luxenberg, PC
                       W.
212.   2:15-cv-00531   Agans, David             1151    Douglas & London, PC
213.   2:15-cv-00533   Povilaitis, Joseph       1238    Beasley, Allen, Crow, Methvin,
                       M.                               Portis & Miles, PC; Pittman,
                                                        Dutton & Hellums, PC;
                                                        McCallum, Methvin & Terrell, PC
214.   2:15-cv-00534   Hettel, James W.         1932    Fodera & Long, PC; The Snapka
                                                        Law Firm
215.   2:15-cv-00535   McLeod, Jacob            2278    The Cochran Firm
                       Nelson, Sr.
216.   2:15-cv-00536   Godfrey, Johnny          1729    The Cochran Firm
                       Lee
217.   2:15-cv-00537   Johnson, Brian           1289    The Cochran Firm
                       Kareem
218.   2:15-cv-00538   Hudson, Michael          1442    The Cochran Firm
                       Morel

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Row     Docket No.       Plaintiff Name         BG ID             Plaintiff Firm
219.   2:15-cv-00539   Cole, Joseph O.          1048    Hardison & Cochran, PLLC
220.   2:15-cv-00540   Labay, Joseph            1521    Hissey Kientz, LLP
221.   2:15-cv-00542   Faustini, Connie Jo      1315    Hill, Peterson, Carper, Bee &
                       Rogers                           Deitzler, PLLC
222.   2:15-cv-00564   Kreager, Ruby            1762    The Cochran Firm
                       Irene Schaefer
223.   2:15-cv-00566   Austin, Lottie           1353    Wagstaff & Cartmell, LLP
224.   2:15-cv-00610   Gerald, Bobby H.         2075    The Penton Law Firm; Sweet &
                                                        Associates
225.   2:15-cv-00615   Cottone, Karen D.        1471    Herman, Herman & Katz, LLC;
                                                        Bernstein Liebhard LLP
226.   2:15-cv-00619   Anderson, Melva          1574    Hilliard Munoz Gonzales LLP
                       M.
227.   2:15-cv-00621   Cobb, Nancy              1029    Herman, Herman & Katz, LLC;
                                                        Goza & Honnold, LLC
228.   2:15-cv-00622   McNary, Tammy            1473    Bernstein Liebhard LLP
229.   2:15-cv-00623   Nuchols, Robert          2445    Douglas & London, PC
230.   2:15-cv-00624   Frank, Lyle              1371    Alonso Krangle LLP
231.   2:15-cv-00632   St. Germain,             1469    Herman, Herman & Katz, LLC;
                       Fredrick                         Bernstein Liebhard LLP
232.   2:15-cv-00640   Matsuyama, Eva G.        2113    Aylstock, Witkin, Kreis &
                                                        Overholtz PLLC
233.   2:15-cv-00704   Bade, Mary               1805    Comeaux Law Firm; Murphy Law
                                                        Firm
234.   2:15-cv-00706   Didio, Michael           1626    Motley Rice LLC
235.   2:15-cv-00707   Hall, Karen              1476    Bernstein Liebhard LLP
236.   2:15-cv-00708   Powell, Raymond          1158    Douglas & London, PC
237.   2:15-cv-00709   Soroczak, Barbara        2196    Spangenberg Shibley & Liber,
                                                        LLP
238.   2:15-cv-00710   Hunter, John E.          2450    Schachter, Hendy & Johnson,
                                                        PSC; Gori Julian & Associates, PC
239.   2:15-cv-00711   Sanders, Natasha R. 1035         Meyer & Leonard, PLLC; Goza &
                                                        Honnold, LLC
240.   2:15-cv-00712   Warren, Kathy L.         1333    Ashcraft & Gerel, LLP
241.   2:15-cv-00714   Whitaker, Jackson        1920    Aylstock, Witkin, Kreis &
                                                        Overholtz PLLC
242.   2:15-cv-00715   Morris, Roger A.         1261    Hepworth, Janis & Kluksdal,
                                                        CHTD.
243.   2:15-cv-00716   Roeper, Patricia M.      1068    The Simon Law Firm, P.C.


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Row     Docket No.       Plaintiff Name           BG ID             Plaintiff Firm
244.   2:15-cv-00717   Lemoins, Sonja H.          1841    The Driscoll Firm, PC
245.   2:15-cv-00718   Smith, John A.             1067    Morris Bart, LLC
246.   2:15-cv-00757   Guerra, Victor M.          2538    Aylstock, Witkin, Kreis &
                                                          Overholtz PLLC
247.   2:15-cv-00763   Kitchen, Chester           1591    Hilliard Munoz Gonzales LLP
                       Lee
248.   2:15-cv-00764   Norris-Parker,             1596    Hilliard Munoz Gonzales LLP
                       Michael W.
249.   2:15-cv-00765   Flowers, Ronald            1582    Hilliard Munoz Gonzales LLP
250.   2:15-cv-00767   Pilkenton, Saundra         1597    Hilliard Munoz Gonzales LLP
                       Gayle
251.   2:15-cv-00768   Rollins, Clifton C.        1599    Hilliard Munoz Gonzales LLP
252.   2:15-cv-00771   Imotichey, Paul J.         1587    Hilliard Munoz Gonzales LLP
253.   2:15-cv-00773   Wilson, James K.           1612    Hilliard Munoz Gonzales LLP
254.   2:15-cv-00774   Whitlow, Calvin            2327    Meyers & Flowers, LLC
255.   2:15-cv-00775   Comeaux, Lydia             1045    Morris Bart, LLC
256.   2:15-cv-00776   Romito, Mary               1479    Bernstein Liebhard LLP
257.   2:15-cv-00783   Asher, Joe                 1017    Schachter, Hendy & Johnson,
                                                          PSC; Johnson Becker, PLLC
258.   2:15-cv-00838   Stephens, Betty            1933    Cory Watson, PC; Hollis Law
                                                          Firm, P.A.
259.   2:15-cv-00839   McVey, Earl                1722    Hodes Milman Liebeck, LLP;
                                                          Sommerman & Quesada, LLP
260.   2:15-cv-00841   Griffin, McArthur          1467    McGlynn, Glisson & Mouton;
                                                          Childers, Schlueter & Smith, LLC
261.   2:15-cv-00842   Porcher, George            1463    Bernstein Liebhard LLP
262.   2:15-cv-00843   Pearce, Sandra             1207    Douglas & London, PC
263.   2:15-cv-00844   Horton, Buster             3041    Douglas & London, PC
264.   2:15-cv-00846   Conti, Sante               1277    Douglas & London, PC
265.   2:15-cv-00848   Hoover, Lovell             1839    The Driscoll Firm, PC
266.   2:15-cv-00850   Edens, Carl                1835    The Driscoll Firm, PC
267.   2:15-cv-00851   Ballinger, Vickie          1834    The Driscoll Firm, PC
268.   2:15-cv-00852   Roe, Cynthia               1065    Burg Simpson Eldredge Hersh &
                                                          Jardine, PC
269.   2:15-cv-00860   Collins, Evelyn H.         1044    Levin, Papantonio, Thomas,
                                                          Mitchell, Rafferty & Proctor, P.A.
270.   2:15-cv-00862   Jackson, Albert            1047    Morris Bart, LLC

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Row     Docket No.       Plaintiff Name          BG ID             Plaintiff Firm
271.   2:15-cv-00863   Holland, Mary R.          1032    Miller Weisbrod, LLP; Goza &
                                                         Honnold, LLC
272.   2:15-cv-00869   Reece, Kathleen V.        1759    Aylstock, Witkin, Kreis &
                                                         Overholtz PLLC
273.   2:15-cv-00872   Hartman, Catherine        2079    Stark & Stark
274.   2:15-cv-00884   Mercier, Denitta          1963    Jensen & Associates
275.   2:15-cv-00885   Nguyen, Tu                1964    Jensen & Associates
276.   2:15-cv-00886   Julien, Danny             1965    Jensen & Associates
277.   2:15-cv-00888   Mayberry, Thelma          1154    Ferrer, Poirot & Wansbrough
                       M.
278.   2:15-cv-00895   Dixon, Winston D.         1108    Morris Bart, LLC
279.   2:15-cv-00920   Hernandez, Jesse J.       1899    Aylstock, Witkin, Kreis &
                                                         Overholtz PLLC; Pogust Braslow
                                                         & Millrood, LLC
280.   2:15-cv-00921   Ledoux, Windell J.        1279    Herman, Herman & Katz, LLC;
                                                         Levin, Papantonio, Thomas,
                                                         Mitchell, Rafferty & Proctor, P.A.
281.   2:15-cv-00922   Mallard, Oscar J.         1406    Barrios Kingsdorf & Casteix,
                                                         LLP; Morris Bart, LLC
282.   2:15-cv-00923   Fippin, Jean              1528    Janet, Jenner & Suggs, LLC;
                                                         Peiffer Wolf Carr & Kane
283.   2:15-cv-00924   Anderson, Tamika          1478    Guarnieri & Secrest; The Cochran
                       Anita                             Firm
284.   2:15-cv-00925   Nunley, Cindy             1362    Levin, Papantonio, Thomas,
                                                         Mitchell, Rafferty & Proctor, P.A.
285.   2:15-cv-00926   Grotte, Karen             1099    NastLaw LLC
286.   2:15-cv-00927   Thakkar, Dhanesh,         1098    NastLaw LLC
                       H.
287.   2:15-cv-00936   Brown, Jimmy              42065   Hardison & Cochran, PLLC
288.   2:15-cv-00939   Fitzpatrick, Barney       1083    Schlichter Bogard & Denton, LLP
289.   2:15-cv-00942   McNeese, Mary             1066    The Maher Law Firm
290.   2:15-cv-00943   Castleberry,              1403    Morgan & Morgan Complex
                       Constance                         Litigation Group
291.   2:15-cv-00944   Voss, Patti               1088    Douglas & London, PC
292.   2:15-cv-00945   Parker, Rachel            1303    Douglas & London, PC
293.   2:15-cv-00946   Ferguson, Barbara         1127    Douglas & London, PC
294.   2:15-cv-00947   Francis, Charles          1231    Douglas & London, PC
295.   2:15-cv-00948   Gambrell, Carole          1628    Douglas & London, PC

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Row     Docket No.       Plaintiff Name           BG ID             Plaintiff Firm
296.   2:15-cv-00949   Guste, Bernard, Jr.        1244    Gennusa, Piacun & Ruli; Guste,
                                                          Barnett, Schlesinger, Henderson &
                                                          Alpaugh, LLP
297.   2:15-cv-00956   Kaddatz, Brenda K.         1509    Levin, Papantonio, Thomas,
                                                          Mitchell, Rafferty & Proctor, P.A.
298.   2:15-cv-00969   Magee, Johnny L.           1093    Morris Bart, LLC
299.   2:15-cv-00970   Harvey, Brenda             1489    Morgan & Morgan Complex
                                                          Litigation Group
300.   2:15-cv-00988   Campbell, Carol            1913    Sanders Law Firm, LLC
                       Sue
301.   2:15-cv-00991   Smith, Brian               1219    Douglas & London, PC; Salim-
                       Eugene                             Beasley, LLC
302.   2:15-cv-00992   Meiners, Kenneth           1443    Baron & Budd, PC; Grant &
                                                          Eisenhofer PA
303.   2:15-cv-00998   Wise, Otho                 1914    Douglas & London, PC; Salim-
                                                          Beasley, LLC
304.   2:15-cv-00999   Durham, Donald             1958    Beasley, Allen, Crow, Methvin,
                                                          Portis & Miles, PC
305.   2:15-cv-01005   Stafford, Myra,            1937    Beasley, Allen, Crow, Methvin,
                       D.D.M., Dr.                        Portis & Miles, PC
306.   2:15-cv-01013   Taylor, Travis             2321    Lockridge Grindal Nauen PLLP
307.   2:15-cv-01015   Hooker, Marlese            1021    Johnson Becker, PLLC
308.   2:15-cv-01016   Chavis, Evelyn             1028    Goza & Honnold, LLC
309.   2:15-cv-01024   Wilson, Edward M.          1248    Levin, Papantonio, Thomas,
                                                          Mitchell, Rafferty & Proctor, P.A.
310.   2:15-cv-01028   Taylor, Linda              2025    Heninger Garrison Davis, LLC
311.   2:15-cv-01029   League, Maida Jean 2035            Heninger Garrison Davis, LLC
312.   2:15-cv-01030   Burleson, Jerome           1133    Brady Law Group
313.   2:15-cv-01030   Embry, Pamela              1135    Brady Law Group
314.   2:15-cv-01030   Salmon, Steven             1143    Brady Law Group
315.   2:15-cv-01030   Schultz, JoAnn             1144    Brady Law Group
316.   2:15-cv-01032   Gotay, Jose Hatton         1584    Hilliard Munoz Gonzales LLP
317.   2:15-cv-01033   Shaw, Reginald, Sr.        1602    Hilliard Munoz Gonzales LLP
318.   2:15-cv-01034   Taylor, Janice S.          1607    Hilliard Munoz Gonzales LLP
319.   2:15-cv-01035   Saugstad, Osten E.,        1601    Hilliard Munoz Gonzales LLP
                       Sr.
320.   2:15-cv-01037   Smith, Jessica             2265    The Cochran Firm



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321.   2:15-cv-01038   Bubis, Anita              1204    Salvi, Schostok & Pritchard PC
322.   2:15-cv-01039   Kennedy, Edward           2046    Hurley McKenna & Mertz, PC
323.   2:15-cv-01040   Hunt, Patsy               1726    Sommerman & Quesada, LLP
324.   2:15-cv-01041   Tapia, Julia              1335    Douglas & London, PC
325.   2:15-cv-01042   Blake, Gloria             1391    Douglas & London, PC
326.   2:15-cv-01043   Petrie, William           1416    Douglas & London, PC
327.   2:15-cv-01044   Stout, William            1766    Douglas & London, PC
328.   2:15-cv-01045   Spaulding, James          1217    Douglas & London, PC; Miller
                                                         Firm, LLC; Salim-Beasley, LLC
329.   2:15-cv-01051   Browning, Jackie          1269    Levin, Papantonio, Thomas,
                       R.                                Mitchell, Rafferty & Proctor, P.A.
330.   2:15-cv-01055   Bernstein, Howard         1049    Schlichter Bogard & Denton, LLP
331.   2:15-cv-01057   Kennedy, Candi            1911    Dowd & Dowd, PC
332.   2:15-cv-01059   Manuel, Sheldon           2477    Kabateck Brown Kellner, LLP
333.   2:15-cv-01061   Faul, Cindy               1069    Andre' P. LaPlace
334.   2:15-cv-01067   Meeks, Thomas             1077    Schlichter Bogard & Denton, LLP
335.   2:15-cv-01068   Ratliff, David            2248    Stratton Law Firm, PSC
336.   2:15-cv-01069   Logsdon, Belinda          1830    Rhoads & Rhoads, PSC; Burke
                                                         Harvey, LLC; Crumley Roberts
337.   2:15-cv-01071   Hudson, Danny             1299    Douglas & London, PC; The
                       Ray                               Cochran Firm
338.   2:15-cv-01072   Hall, Elfriede            1423    Douglas & London, PC
339.   2:15-cv-01073   Webb, Carol               1778    Burg Simpson Eldredge Hersh &
                                                         Jardine, PC; Dowd & Dowd, PC
340.   2:15-cv-01074   Glatz, Margaret E.        1634    Motley Rice LLC
341.   2:15-cv-01076   Henderson, Sonjia         1229    Douglas & London, PC; Salim-
                                                         Beasley, LLC
342.   2:15-cv-01081   Gautreaux, Anita          1051    Aylstock, Witkin, Kreis &
                                                         Overholtz PLLC; Michael Hingle
                                                         & Associates, LLC
343.   2:15-cv-01087   Daugherty, Charles        2040    Aylstock, Witkin, Kreis &
                       M.                                Overholtz PLLC
344.   2:15-cv-01090   Lutz, Jacob A.            1329    The Cerasa Law Firm LLC
345.   2:15-cv-01093   Famera, John R.           1332    The Cerasa Law Firm LLC
346.   2:15-cv-01095   Kennard, Gary E.          1725    The Cerasa Law Firm LLC
347.   2:15-cv-01111   Clark, Patricia R.        1323    The Cerasa Law Firm LLC

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348.   2:15-cv-01115   Lane, Preston             1063    The Maher Law Firm
349.   2:15-cv-01122   Butler, Cheryl            1377    The Lanier Law Firm
350.   2:15-cv-01129   Taylor, Katie             1162    Ferrer, Poirot & Wansbrough
351.   2:15-cv-01132   Hortman, Ronnie           1337    Childers, Schlueter & Smith, LLC
352.   2:15-cv-01140   Bryant, Jesse H., Jr.     1894    Childers, Schlueter & Smith, LLC
353.   2:15-cv-01141   Calvert, Angel            7635    Peiffer Wolf Carr & Kane; The
                                                         Michael Brady Lynch Firm
354.   2:15-cv-01151   Lipscomb, Emanuel 1014            Johnson Becker, PLLC
                       A.
355.   2:15-cv-01157   Randall, Alanna J. 1824           Aylstock, Witkin, Kreis &
                                                         Overholtz PLLC
356.   2:15-cv-01162   Jackson, Cassandra        1390    Lormand Law Firm; S. Ann
                       Jones                             Bufkin
357.   2:15-cv-01168   Burriss, Joe D., Jr.      1275    Levin, Papantonio, Thomas,
                                                         Mitchell, Rafferty & Proctor, P.A.
358.   2:15-cv-01170   Theriot, Hannon J.        1895    Aylstock, Witkin, Kreis &
                                                         Overholtz PLLC
359.   2:15-cv-01173   Smith, Nelissa            1603    Hilliard Munoz Gonzales LLP
                       Lavette
360.   2:15-cv-01174   Guerra, Alejandro,        1585    Hilliard Munoz Gonzales LLP
                       Jr.
361.   2:15-cv-01175   Moonshower, Carol         1091    Ferrer, Poirot & Wansbrough
                       A.
362.   2:15-cv-01176   Spansail, John Dale       1309    Susan E. Loggans & Associates,
                                                         PC; The Cochran Firm
363.   2:15-cv-01178   Deslongchamps,            1221    Douglas & London, PC; Salim-
                       Eugene                            Beasley, LLC
364.   2:15-cv-01182   Beasley, Jerry            1292    Douglas & London, PC
365.   2:15-cv-01183   Lopez, Jose A.            1513    Levin, Papantonio, Thomas,
                                                         Mitchell, Rafferty & Proctor, P.A.
366.   2:15-cv-01184   Konkle, Ronald            1203    Douglas & London, PC
367.   2:15-cv-01185   Pennington, Willis 1222           Douglas & London, PC; Salim-
                       Claude                            Beasley, LLC
368.   2:15-cv-01187   Dencker, Alexander 1409           Douglas & London, PC
369.   2:15-cv-01188   Denzer, Debra             2464    Milstein Jackson Fairchild &
                                                         Wade, LLP
370.   2:15-cv-01189   Cooper, Sherry            1295    Douglas & London, PC
371.   2:15-cv-01193   Lacaze, Howard            1487    Peiffer Wolf Carr & Kane; The
                                                         Michael Brady Lynch Firm


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372.   2:15-cv-01194   Logan, Betty              1224    Douglas & London, PC; Salim-
                                                         Beasley, LLC
373.   2:15-cv-01203   Adolph, Mary              1023    Morris Bart, LLC
                       Louise
374.   2:15-cv-01216   Bilger, Susan             1904    Wexler Wallace LLP
375.   2:15-cv-01217   Burton, Donald            2183    Wiggins, Childs, Pantazis, Fisher,
                                                         Goldfarb, LLC; Lemmon Law
                                                         Firm; Foote, Mielke, Chavez &
                                                         O’Neil, LLC
376.   2:15-cv-01218   Henry, Brenda             1255    Levin, Papantonio, Thomas,
                       Lynn                              Mitchell, Rafferty & Proctor, P.A.
377.   2:15-cv-01219   Parton, Brenda            2269    Wiggins, Childs, Pantazis, Fisher,
                                                         Goldfarb, LLC; Lemmon Law
                                                         Firm; Foote, Mielke, Chavez &
                                                         O’Neil, LLC
378.   2:15-cv-01237   Beavers, Eugene           1741    Sommerman & Quesada, LLP
379.   2:15-cv-01248   Scolaro, Mike             1784    Watts Guerra LLP
380.   2:15-cv-01251   Gleaton, Jennifer         1912    Kennedy Hodges, LLP
381.   2:15-cv-01261   Shepard, Lydia            1095    The Kelly Firm
382.   2:15-cv-01265   Goodman, Sarah            1311    Bunch and James; Childers,
                                                         Schlueter & Smith, LLC
383.   2:15-cv-01266   Hutchison, William        1445    Childers, Schlueter & Smith, LLC
384.   2:15-cv-01268   Sizemore, Nancy           1844    The Driscoll Firm, PC
385.   2:15-cv-01270   Aranda, Pete              1843    The Driscoll Firm, PC
386.   2:15-cv-01271   Earl, William             1845    The Driscoll Firm, PC
387.   2:15-cv-01272   Schneider, Kenneth        1847    The Driscoll Firm, PC
388.   2:15-cv-01274   Noonan, Ann B.            1104    Gray & White
389.   2:15-cv-01275   Peavley, Inge             1084    Gray & White
390.   2:15-cv-01276   Whittle, Karen M.         1016    Sill Law Group, PLLC; Johnson
                                                         Becker, PLLC
391.   2:15-cv-01278   Everett, Bettie B.        1720    Childers, Schlueter & Smith, LLC;
                                                         Kenneth S. Nugent, P.C.
392.   2:15-cv-01281   Miles, Ervin Jr.          1815    Aylstock, Witkin, Kreis &
                                                         Overholtz PLLC
393.   2:15-cv-01287   Wall, Ruth                1538    Hughes & Coleman, PLLC;
                                                         Peiffer Wolf Carr & Kane; The
                                                         Michael Brady Lynch Firm



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394.   2:15-cv-01288   Guldan, Susan             1488    Hughes & Coleman, PLLC;
                                                         Peiffer Wolf Carr & Kane; The
                                                         Michael Brady Lynch Firm
395.   2:15-cv-01293   Irwin, Sarah              1247    McSweeney/Langevin
396.   2:15-cv-01294   Decker, Deborah           1297    McSweeney/Langevin
397.   2:15-cv-01295   Hausrath, Laura A.        1246    McSweeney/Langevin
398.   2:15-cv-01299   Crush, Julie              1739    The Levensten Law Firm, PC
399.   2:15-cv-01302   Murray, Anne              1376    The Lanier Law Firm
400.   2:15-cv-01305   Lawrence, George          1237    Ury & Moskow, LLC
401.   2:15-cv-01306   Moody, Eula M.            1264    Levin, Papantonio, Thomas,
                                                         Mitchell, Rafferty & Proctor, P.A.
402.   2:15-cv-01308   Parrish, Mary             1258    Ury & Moskow, LLC
403.   2:15-cv-01311   Copeland, JoAnn           1803    Morris Bart, LLC
404.   2:15-cv-01312   Heinzel, Kenneth          1179    Levin, Papantonio, Thomas,
                       Paul                              Mitchell, Rafferty & Proctor, P.A.
405.   2:15-cv-01314   Booth, Evelyn L.          1027    Goza & Honnold, LLC
406.   2:15-cv-01321   Lavigne, Phyllis M.       1946    The Penton Law Firm; Sweet &
                                                         Associates
407.   2:15-cv-01322   Burns, Michelle           1024    English, Lucas, Priest & Owsley,
                       Hardin                            LLP
408.   2:15-cv-01323   Romaniello,               1792    Aylstock, Witkin, Kreis &
                       Anthony L.                        Overholtz PLLC
409.   2:15-cv-01330   Popps, Russell            1202    Douglas & London, PC
410.   2:15-cv-01331   Kinas-Atkins,             1270    Douglas & London, PC
                       Heather
411.   2:15-cv-01332   Kelley, Kaylynn           2208    Douglas & London, PC
412.   2:15-cv-01339   Rodal, Richard            1052    Tor Hoerman Law LLC
413.   2:15-cv-01341   Graham, Ann               4664    Burnett Law Firm
414.   2:15-cv-01343   Walls, Debbie             1057    Levin, Papantonio, Thomas,
                                                         Mitchell, Rafferty & Proctor, P.A.
415.   2:15-cv-01344   Powell, Melissa L.        1426    Levin, Papantonio, Thomas,
                                                         Mitchell, Rafferty & Proctor, P.A.
416.   2:15-cv-01345   Houston, Nikesha          1623    Morgan & Morgan Complex
                       R.                                Litigation Group
417.   2:15-cv-01346   Cook, Bonnie              1025    English, Lucas, Priest & Owsley,
                                                         LLP
418.   2:15-cv-01348   Lasiter, Wilma            1316    Baron & Budd, PC; Grant &
                                                         Eisenhofer PA

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Row     Docket No.       Plaintiff Name         BG ID             Plaintiff Firm
419.   2:15-cv-01350   Thompson, Eric           1225    Douglas & London, PC; Salim-
                       Wayne                            Beasley, LLC
420.   2:15-cv-01351   Outland-Lewis,           1037    English, Lucas, Priest & Owsley,
                       Wanda                            LLP
421.   2:15-cv-01355   Noblett, Augusta         1036    English, Lucas, Priest & Owsley,
                                                        LLP
422.   2:15-cv-01356   McClellan,               1228    Douglas & London, PC; Salim-
                       Millicent L.                     Beasley, LLC
423.   2:15-cv-01358   Pemberton, John L.       1795    Bird Law Group, PC; Dwyer Law
                                                        Group
424.   2:15-cv-01359   Dickerson, Leroy         1832    Burke Harvey, LLC; Crumley
                                                        Roberts
425.   2:15-cv-01363   Young, Isma              1781    Douglas & London, PC; Salim-
                                                        Beasley, LLC
426.   2:15-cv-01366   Brown, Doris Diane 1226          Douglas & London, PC; Salim-
                                                        Beasley, LLC
427.   2:15-cv-01372   Cameron, Catherine 1043          Levin, Papantonio, Thomas,
                       C.                               Mitchell, Rafferty & Proctor, P.A.
428.   2:15-cv-01374   Binion, Herman, Jr. 1278         Levin, Papantonio, Thomas,
                                                        Mitchell, Rafferty & Proctor, P.A.
429.   2:15-cv-01375   Durig, Gladys            1718    Wagstaff & Cartmell, LLP
430.   2:15-cv-01396   Saracini, Melinda        1791    Watts Guerra LLP
431.   2:15-cv-01397   Deb Boop                 1468    Bernstein Liebhard LLP
432.   2:15-cv-01401   Treur, Kenneth J.        1831    Burke Harvey, LLC; Crumley
                                                        Roberts
433.   2:15-cv-01402   Timms, Nancy             1757    Wagstaff & Cartmell, LLP
434.   2:15-cv-01406   Comeaux, Francis         1012    Johnson Becker, PLLC
435.   2:15-cv-01407   Goodacre, Adrian         1241    Morris Bart, LLC
                       B.
436.   2:15-cv-01409   Peck, Frank              2104    Kabateck Brown Kellner, LLP
437.   2:15-cv-01411   Searcy, Maxie            1833    Burke Harvey, LLC; Crumley
                                                        Roberts
438.   2:15-cv-01412   Cheramie, Audrey         1819    Wagstaff & Cartmell, LLP
439.   2:15-cv-01414   Fiore, Donna             1334    Wagstaff & Cartmell, LLP
440.   2:15-cv-01415   Chavis, Barbara          42064   Hardison & Cochran, PLLC
441.   2:15-cv-01416   Yates, Eva A.            1330    Wagstaff & Cartmell, LLP
442.   2:15-cv-01422   Kenton, Sandy Tew        1339    Wagstaff & Cartmell, LLP
443.   2:15-cv-01426   Price, Jim               2358    Spangenberg Shibley & Liber,
                                                        LLP

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Row     Docket No.       Plaintiff Name           BG ID             Plaintiff Firm
444.   2:15-cv-01429   Gunter, JoAnn              1030    Goza & Honnold, LLC
445.   2:15-cv-01430   Pine, Lula B.              1263    Levin, Papantonio, Thomas,
                                                          Mitchell, Rafferty & Proctor, P.A.
446.   2:15-cv-01431   Marshall, Maida            1169    Brown and Crouppen, PC
447.   2:15-cv-01432   Parnell, Randall H.        1448    Motley Rice LLC
448.   2:15-cv-01436   Guess, Daniel R.           1346    Levin, Papantonio, Thomas,
                                                          Mitchell, Rafferty & Proctor, P.A.
449.   2:15-cv-01437   Wallen, Eldon              1378    The Lanier Law Firm
450.   2:15-cv-01443   Williams, Janice           1010    Johnson Becker, PLLC
451.   2:15-cv-01447   Boyea, Winifred            1271    Levin, Papantonio, Thomas,
                       Pearl                              Mitchell, Rafferty & Proctor, P.A.
452.   2:15-cv-01448   Joiner, Fay                1788    Heninger Garrison Davis, LLC
453.   2:15-cv-01450   Watson, James A.           1822    Childers, Schlueter & Smith, LLC;
                                                          Kenneth S. Nugent, P.C.
454.   2:15-cv-01451   Johnson, Carl              2037    Dyer, Garofalo, Mann & Schulz,
                                                          LPA
455.   2:15-cv-01452   Sexton, Tyree              1794    Heninger Garrison Davis, LLC
456.   2:15-cv-01453   Kelley, Carolyn R.         1789    Childers, Schlueter & Smith, LLC
457.   2:15-cv-01454   Shields, Jesse             2485    Peiffer Wolf Carr & Kane; The
                                                          Michael Brady Lynch Firm
458.   2:15-cv-01456   Dudek, Lisa                1738    The Law Offices of Jeffrey S.
                                                          Glassman
459.   2:15-cv-01457   Collins, Angel             1917    Seeger Weiss LLP
460.   2:15-cv-01461   Giner, Frank               1787    Seeger Weiss LLP
461.   2:15-cv-01470   Smith, Debra               1412    Morris Bart, LLC
462.   2:15-cv-01472   Lott, Audrey               41739   Peiffer Wolf Carr & Kane; The
                                                          Michael Brady Lynch Firm
463.   2:15-cv-01476   Hanagriff,                 1209    Morris Bart, LLC
                       Jeannette
464.   2:15-cv-01477   Smith, Vera                1105    Morris Bart, LLC
465.   2:15-cv-01489   Salisbury, Jerry           1034    Goza & Honnold, LLC
466.   2:15-cv-01492   Wood, India                1321    Grant & Eisenhofer PA
467.   2:15-cv-01500   Sudol, Mary R.             1540    Zeccola & Selinger, LLC;
                                                          Aylstock, Witkin, Kreis &
                                                          Overholtz PLLC
468.   2:15-cv-01502   Howard, Carolyn            1769    Dowd & Dowd, PC



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Row     Docket No.       Plaintiff Name          BG ID             Plaintiff Firm
469.   2:15-cv-01507   Way, Claudia              1758    Goldberg, Weisman & Cairo, Ltd.;
                                                         Meshbesher & Spence, Ltd.
470.   2:15-cv-01514   Rivera, Victor            2044    Branch Law Firm; Potts Law
                                                         Firm, LLP
471.   2:15-cv-01516   Hennessey, Thomas 1435            Zeccola & Selinger, LLC
                       A.
472.   2:15-cv-01517   Juillet, Eva      1572            Capretz & Associates
473.   2:15-cv-01522   Phillips, Roy             1519    Zeccola & Selinger, LLC
                       Raymond
474.   2:15-cv-01523   Licata, Margaret          2232    Allen & Nolte, PLLC
475.   2:15-cv-01526   Peters, August C.         2022    Wexler Wallace LLP
476.   2:15-cv-01537   Achziger, Lila            1945    Beasley, Allen, Crow, Methvin,
                                                         Portis & Miles, PC
477.   2:15-cv-01555   Dunbar, Schennetta        1930    Cory Watson, PC
478.   2:15-cv-01557   Froelich, Glenda          1483    Peiffer Wolf Carr & Kane; The
                                                         Michael Brady Lynch Firm
479.   2:15-cv-01559   Sanders, Edward           1484    Peiffer Wolf Carr & Kane; The
                                                         Michael Brady Lynch Firm
480.   2:15-cv-01560   Bennett, Frederick        1575    Hilliard Munoz Gonzales LLP
                       E.
481.   2:15-cv-01564   Kengla, Margaret          1590    Hilliard Munoz Gonzales LLP
                       L.
482.   2:15-cv-01565   Manning, Kenneth          1593    Hilliard Munoz Gonzales LLP
483.   2:15-cv-01566   Milton, Gwendolyn         1594    Hilliard Munoz Gonzales LLP
484.   2:15-cv-01567   Ross, Veronica            1600    Hilliard Munoz Gonzales LLP
485.   2:15-cv-01568   Hatcher, Karen Y.         1804    Law Offices of Charles H.
                                                         Johnson, PA
486.   2:15-cv-01569   Duplechin, Jimmie         2101    Davis & Crump, PC
                       Carol Labbie
487.   2:15-cv-01570   Powers, Susan             1501    Bernstein Liebhard LLP
488.   2:15-cv-01571   Gibson, Charles S.        1306    Levin, Papantonio, Thomas,
                                                         Mitchell, Rafferty & Proctor, P.A.
489.   2:15-cv-01572   Padrick, Dorothy          2280    Rheingold, Valet, Rheingold
                                                         McCartney & Giuffra LLP
490.   2:15-cv-01573   Romano, Bonzena           2320    Rheingold, Valet, Rheingold
                                                         McCartney & Giuffra LLP
491.   2:15-cv-01576   Harris, James Lee         2026    Levin, Papantonio, Thomas,
                                                         Mitchell, Rafferty & Proctor, P.A.
492.   2:15-cv-01578   Stevens, Deborah          1092    John Jewell Pace, APLC



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Row     Docket No.       Plaintiff Name           BG ID             Plaintiff Firm
493.   2:15-cv-01582   Merchant, Barbara          1320    Levin, Papantonio, Thomas,
                       L.                                 Mitchell, Rafferty & Proctor, P.A.
494.   2:15-cv-01588   McCart, Ira N.             1948    Morgan & Morgan Complex
                                                          Litigation Group
495.   2:15-cv-01589   Causley, Beverly J.        1322    Levin, Papantonio, Thomas,
                                                          Mitchell, Rafferty & Proctor, P.A.
496.   2:15-cv-01590   Brown, Michael             1100    Morris Bart, LLC
497.   2:15-cv-01592   Bernard, Stacey            1949    Morgan & Morgan Complex
                                                          Litigation Group
498.   2:15-cv-01594   Growden, Victor,           2095    Beasley, Allen, Crow, Methvin,
                       Sr.                                Portis & Miles, PC
499.   2:15-cv-01597   Hargrave, Jaxie            2121    Aylstock, Witkin, Kreis &
                                                          Overholtz PLLC
500.   2:15-cv-01598   Stadtlander, John F.       1731    Morgan & Morgan Complex
                                                          Litigation Group
501.   2:15-cv-01599   Moran, Marvin              2090    Sommerman & Quesada, LLP
502.   2:15-cv-01601   Byrd, Louise H.            2078    Wexler Wallace LLP
503.   2:15-cv-01609   Daniel, Lola               1850    The Driscoll Firm, PC
504.   2:15-cv-01610   Niemeier, Kenneth          1851    The Driscoll Firm, PC
505.   2:15-cv-01612   Seals, Judy L.             1101    NastLaw LLC
506.   2:15-cv-01622   Bundick, Lanell            1504    Baron & Budd, PC
507.   2:15-cv-01624   Noe, Jeanette              2117    Heninger Garrison Davis, LLC
508.   2:15-cv-01628   Burnett, Beverly J.        2118    Aylstock, Witkin, Kreis &
                                                          Overholtz PLLC
509.   2:15-cv-01641   Roberts, Bettina           1340    The Cochran Firm
                       Smathers
510.   2:15-cv-01645   Kolter, Sherman            1379    The Driscoll Firm, PC
                       Ray
511.   2:15-cv-01660   Stewart, Kathleen          1116    Callahan & Blaine, APLC
512.   2:15-cv-01672   Foster, Verna              2149    Peiffer Wolf Carr & Kane; The
                                                          Michael Brady Lynch Firm
513.   2:15-cv-01675   Marcell-Reed,              1598    Hilliard Munoz Gonzales LLP
                       Marie
514.   2:15-cv-01676   Helmey, Betty              2174    Searcy Denney Scarola Barnhart
                                                          & Shipley, PA
515.   2:15-cv-01682   Archer, Ruby               1811    Callahan & Blaine, APLC
516.   2:15-cv-01683   McClain, Charles           2671    Robert J. DeBry & Associates
517.   2:15-cv-01694   Dufour, Kenneth            2148    Peiffer Wolf Carr & Kane; The
                                                          Michael Brady Lynch Firm

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Row     Docket No.       Plaintiff Name          BG ID             Plaintiff Firm
518.   2:15-cv-01695   Prigge, Genevieve         2021    The Levensten Law Firm, PC
519.   2:15-cv-01698   Adams, Mary               1826    Hare, Wynn, Newell and Newton,
                                                         LLP
520.   2:15-cv-01699   Garza, Mary Lou           2227    Elkus & Sisson, PC; Aylstock,
                                                         Witkin, Kreis & Overholtz PLLC
521.   2:15-cv-01701   Delacruz, Kristine        2223    The Cerasa Law Firm LLC
522.   2:15-cv-01704   Brunk, Edna               1234    Burg Simpson Eldredge Hersh &
                                                         Jardine, PC
523.   2:15-cv-01710   Hall, Richard             2020    The Cerasa Law Firm LLC
524.   2:15-cv-01715   Atkins, Daniel            2151    Callahan & Blaine, APLC
525.   2:15-cv-01716   Nelson, Robert            1245    McSweeney/Langevin
526.   2:15-cv-01719   Wages, Jane               2098    Morgan & Morgan Complex
                                                         Litigation Group
527.   2:15-cv-01721   Hunt, Marci Jean          2277    The Cerasa Law Firm LLC
528.   2:15-cv-01729   Simms, Brenda             2279    The Law Offices of Derriel C.
                                                         McCorvey, L.L.C.
529.   2:15-cv-01734   Smith, Dixie A.           2291    Aylstock, Witkin, Kreis &
                                                         Overholtz PLLC
530.   2:15-cv-01735   Corbitt, Dana             2204    Douglas & London, PC
531.   2:15-cv-01751   Busby, Keith              1175    Callahan & Blaine, APLC; Hodes
                                                         Milman Liebeck, LLP
532.   2:15-cv-01753   Knowlton, Harry           1740    Grant & Eisenhofer PA
533.   2:15-cv-01759   Barnhart, Karen           1208    Andre' P. LaPlace; Cunard Law
                                                         Firm
534.   2:15-cv-01760   Libby, Jeannette          1354    Grant & Eisenhofer PA
535.   2:15-cv-01768   Handley, Lola D.          2271    Morgan & Morgan Complex
                                                         Litigation Group
536.   2:15-cv-01769   Martin, Lola M.           2292    Morgan & Morgan Complex
                                                         Litigation Group
537.   2:15-cv-01772   Jones, Joann              2440    Morgan & Morgan Complex
                                                         Litigation Group
538.   2:15-cv-01773   Sawyers, Paula            2360    Meyers & Flowers, LLC
539.   2:15-cv-01774   Anderson-Cotton,    2449          Sarangi Law, LLC
                       Heron
540.   2:15-cv-01776   Faulkner, Angela L. 2316          Morgan & Morgan Complex
                                                         Litigation Group
541.   2:15-cv-01778   Thorton, Beatrice         2342    Bernstein Liebhard LLP
542.   2:15-cv-01784   McGhee, Beverly           2337    Morgan & Morgan Complex
                       G.                                Litigation Group

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543.   2:15-cv-01789   Rogala, Carol             1082    Schlichter Bogard & Denton, LLP
544.   2:15-cv-01791   Hurt, Dorothy             2452    Peiffer Wolf Carr & Kane; The
                                                         Michael Brady Lynch Firm
545.   2:15-cv-01795   Chambers, Doyle           2334    Stark & Stark
546.   2:15-cv-01796   Geitz, Bernadine D. 1167          Brown and Crouppen, PC
547.   2:15-cv-01796   Byram, David              1166    Brown and Crouppen, PC
548.   2:15-cv-01796   Salberg, Julian           1171    Brown and Crouppen, PC
549.   2:15-cv-01797   Curry, James, III         1312    Cory Watson, PC
550.   2:15-cv-01799   Hamilton, Jonathan        2209    The Lanier Law Firm
551.   2:15-cv-01802   Leibowitz, Saul           2364    Sommerman & Quesada, LLP
552.   2:15-cv-01804   Auckerman, Bertha         1464    Goza & Honnold, LLC
553.   2:15-cv-01822   Manning, Elizabeth        2184    Andre' P. LaPlace; Cunard Law
                                                         Firm
554.   2:15-cv-01827   Stumborg,                 2068    Andre' P. LaPlace; Cunard Law
                       Penelope                          Firm
555.   2:15-cv-01830   Godbee, Joyce J.          2086    Levin, Papantonio, Thomas,
                                                         Mitchell, Rafferty & Proctor, P.A.
556.   2:15-cv-01832   Bryant, Ann               2219    Weitz & Luxenberg, PC
557.   2:15-cv-01835   Lapeyrouse, Dreus         2063    Morris Bart, LLC
558.   2:15-cv-01864   Wiener, Marilyn           2703    Lieff, Cabraser, Heimann &
                                                         Bernstein, LLP; Handler, Henning
                                                         & Rosenberg, LLP
559.   2:15-cv-01865   Wellman, Eleanor          2114    Levin, Papantonio, Thomas,
                       E.                                Mitchell, Rafferty & Proctor, P.A.
560.   2:15-cv-01867   Brohl, Cheryl             1477    Meyerkord & Meyerkord, LLC
561.   2:15-cv-01869   Coulon, Elizabeth         1578    Hilliard Munoz Gonzales LLP
                       D.
562.   2:15-cv-01871   Yellam, Richard J.        1613    Hilliard Munoz Gonzales LLP
563.   2:15-cv-01872   Miles, Mary               2491    Seeger Weiss LLP
564.   2:15-cv-01873   Hurley, Alan              2229    Peterson & Associates, PC
565.   2:15-cv-01874   Gibson, Sallie            2442    Ferrer, Poirot & Wansbrough;
                                                         Tautfest Bond PLLC
566.   2:15-cv-01875   Brown, Adeline            2205    Peterson & Associates, PC
567.   2:15-cv-01876   Morgan, Roy, Jr.          2514    Jensen & Associates
568.   2:15-cv-01885   Hendricks, Mario          2508    Beasley, Allen, Crow, Methvin,
                                                         Portis & Miles, PC


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569.   2:15-cv-01886   Gore, Virginia           2510    Kurasch & Klein, Ltd.
570.   2:15-cv-01903   Fierro, Norman           2045    Seeger Weiss LLP
571.   2:15-cv-01905   Larkpor, Charles Y. 1385         Ferrer, Poirot & Wansbrough
572.   2:15-cv-01909   McGee, Doris A.          2251    Miller Weisbrod, LLP
573.   2:15-cv-01916   Moore, Nathaniel         2474    The Cochran Firm
574.   2:15-cv-01921   Battle, Lester O.        2536    Aylstock, Witkin, Kreis &
                                                        Overholtz PLLC
575.   2:15-cv-01929   Jefferson, Paula         1296    Goza & Honnold, LLC
576.   2:15-cv-01937   Brown, Juanita           2495    Peiffer Wolf Carr & Kane; The
                                                        Michael Brady Lynch Firm
577.   2:15-cv-01949   Blaustein, Marvin        2479    Sweeney Merrigan Law
578.   2:15-cv-01953   Alison, Teresa           2582    The Moody Law Firm, Inc.
579.   2:15-cv-01960   Williams, Bobbie         1728    The Cochran Firm
                       Bertha
580.   2:15-cv-01961   Remkus, Justin           2064    Hare, Wynn, Newell and Newton,
                                                        LLP
581.   2:15-cv-01967   Baquol, Kathleen         1280    Law Offices of Peter G. Angelos,
                                                        PC
582.   2:15-cv-01972   Winnen, David            1465    Goza & Honnold, LLC
583.   2:15-cv-01975   Vento, Ray               1461    Goza & Honnold, LLC
584.   2:15-cv-01976   Diaz, Victor M.          2855    Wexler Wallace LLP
585.   2:15-cv-01977   Reubin, Tommye           2562    Wexler Wallace LLP
                       C.
586.   2:15-cv-01996   Barbosa, Manuel          2512    Meyers & Flowers, LLC
587.   2:15-cv-01997   Curtice, Brian L.        2638    Stark & Stark
588.   2:15-cv-01998   Gibbar, Gladys           2619    Stark & Stark
589.   2:15-cv-01999   Wise, Peggy              2565    Stark & Stark
590.   2:15-cv-02004   Nash, Joanne             5175    Milstein Jackson Fairchild &
                                                        Wade, LLP; Matthews &
                                                        Associates
591.   2:15-cv-02005   Snyder, Judith A.        1604    Hilliard Munoz Gonzales LLP
592.   2:15-cv-02006   Hawkins, William         1586    Hilliard Munoz Gonzales LLP
                       K., Jr.
593.   2:15-cv-02007   Waters, Alfred           1610    Hill, Peterson, Carper, Bee &
                                                        Deitzler, PLLC
594.   2:15-cv-02008   Williamson,              1611    Hilliard Munoz Gonzales LLP
                       William

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595.   2:15-cv-02009   Galowitch, Joseph        1583    Hilliard Munoz Gonzales LLP
                       R.
596.   2:15-cv-02010   Burns, Anneliese         1852    The Driscoll Firm, PC
597.   2:15-cv-02011   Rice, Thelma             3030    Lieff, Cabraser, Heimann &
                                                        Bernstein, LLP
598.   2:15-cv-02012   Stubbs, Sara             2498    Steckler Law Group LLP
599.   2:15-cv-02044   Felarise, Ezeman J., 2099        Morris Bart, LLC
                       Jr.
600.   2:15-CV-        Richards, Melissa    1817        Meyerkord & Meyerkord, LLC
       02057
601.   2:15-cv-02068   Snow, Gwendolyn          3048    Bernstein Liebhard LLP
602.   2:15-cv-02081   Hunt, Patricia           1682    Herman, Herman & Katz, LLC
                       Thorpe
603.   2:15-cv-02082   White, Ruth S.           2549    Onderlaw, LLC (fka Onder,
                                                        Shelton, O'Leary & Peterson,
                                                        LLC)
604.   2:15-cv-02084   Adams, Mary              2032    Cory Watson, PC
605.   2:15-cv-02086   McAdams, Mary E.         1534    Barrios Kingsdorf & Casteix,
                                                        LLP; Cunningham Bounds, LLC
606.   2:15-cv-02092   Lewis, Anita C.          2610    Morgan & Morgan Complex
                                                        Litigation Group
607.   2:15-cv-02110   Anderson, Anita M. 2225          Levin, Papantonio, Thomas,
                                                        Mitchell, Rafferty & Proctor, P.A.
608.   2:15-cv-02118   Jerde, Ronald            2657    Bennerotte & Associates, PA
609.   2:15-cv-02124   Sudduth, June            2640    Bernstein Liebhard LLP
610.   2:15-cv-02133   Medici, Lenise           1363    NastLaw LLC
611.   2:15-cv-02137   Schwartz, Esther         2567    Weitz & Luxenberg, PC
612.   2:15-cv-02139   Gaiser, Carolyn          1522    Grant & Eisenhofer PA
613.   2:15-cv-02142   Carter, Jacquelyn        2621    Law Offices of Jeffrey S.
                                                        Glassman, LLC
614.   2:15-cv-02148   Woosley, Harold          2451    The Cochran Firm
                       Dean
615.   2:15-cv-02154   Armstrong, Edna          2211    Peterson & Associates, PC
616.   2:15-cv-02179   Bothe, William           2611    Wagstaff & Cartmell, LLP
617.   2:15-cv-02180   Bryant, Robert           1869    The Driscoll Firm, PC
                       Louis
618.   2:15-cv-02180   Hall, Arkisha            1890    The Driscoll Firm, PC
619.   2:15-cv-02180   Howlan, Marion           1880    The Driscoll Firm, PC


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620.   2:15-cv-02180   Twymon,                   1887    The Driscoll Firm, PC
                       Jacqueline
621.   2:15-cv-02180   Baske, Richard            1866    The Driscoll Firm, PC
622.   2:15-cv-02180   Gaines, Deanna            1877    The Driscoll Firm, PC
623.   2:15-cv-02180   Fiese, Edna               1874    The Driscoll Firm, PC
624.   2:15-cv-02180   Freeman,                  1876    The Driscoll Firm, PC
                       Jacqueline
625.   2:15-cv-02180   Morton, Charles           1882    The Driscoll Firm, PC
626.   2:15-cv-02180   Robertson, Richard        1885    The Driscoll Firm, PC
627.   2:15-cv-02180   Redding, Elmer            1884    The Driscoll Firm, PC
628.   2:15-cv-02180   Falk, Roger               1873    The Driscoll Firm, PC
629.   2:15-cv-02180   Fontenot, Susan           1875    The Driscoll Firm, PC
630.   2:15-cv-02180   Hubbard, Lottie           1881    The Driscoll Firm, PC
631.   2:15-cv-02184   Wood, John P.             2520    Beasley, Allen, Crow, Methvin,
                                                         Portis & Miles, PC
632.   2:15-cv-02198   Dobbs, John               2497    Meyers & Flowers, LLC
633.   2:15-cv-02214   Jent, Linda S.            2673    Wexler Wallace LLP
634.   2:15-cv-02217   Roberts, David            1924    Goldberg, Weisman & Cairo, Ltd.;
                                                         Meshbesher & Spence, Ltd.
635.   2:15-cv-02231   Schlemmer, Fredric        3183    The Schlemmer Firm, LLC
                       N.
636.   2:15-cv-02236   Casne, Patricia           2734    Jensen & Associates
637.   2:15-cv-02242   Cavanaugh, Neil A.        2736    Motley Rice LLC
638.   2:15-cv-02244   Molley, Charlotte         2245    Johnson Becker, PLLC
639.   2:15-cv-02245   Dole, William             2738    Beasley, Allen, Crow, Methvin,
                                                         Portis & Miles, PC
640.   2:15-cv-02253   Jackson, Keisha           2210    Morris Bart, LLC
641.   2:15-cv-02255   Alderdice, Barbara        1163    Brown and Crouppen, PC
642.   2:15-cv-02273   Brown, Linda              1760    Perdue & Kidd
643.   2:15-cv-02282   Wallace, Betty            2701    Morgan & Morgan Complex
                                                         Litigation Group
644.   2:15-cv-02289   Bauder, Marvin            2067    Burke Harvey, LLC
645.   2:15-cv-02294   Watkins, Angela           2898    Gustafson Gluek PLLC
646.   2:15-cv-02306   Pearce, Drew              1531    Shaw Cowart, LLP



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Row     Docket No.       Plaintiff Name           BG ID             Plaintiff Firm
647.   2:15-cv-02310   Chmielewski,               2700    Miller Weisbrod, LLP
                       Donald
648.   2:15-cv-02319   Crayton, Arthur            2552    Nemeroff Law Firm
649.   2:15-cv-02322   Johnson, Anna Bell         2930    Baron & Budd, PC
650.   2:15-cv-02325   Larson, Joseph             2502    Meyers & Flowers, LLC
651.   2:15-cv-02327   Arnett, Herbert            2311    Sanders Law Firm, LLC
652.   2:15-cv-02330   Wiggs, Beverly             1498    Salvi, Schostok & Pritchard PC
653.   2:15-cv-02332   Boyd, Marvin               2596    Childers, Schlueter & Smith, LLC
654.   2:15-cv-02334   Ardolina, Lia              2677    Peiffer Wolf Carr & Kane; The
                                                          Michael Brady Lynch Firm
655.   2:15-cv-02341   Nystrom, Douglas           2340    Chaffin Luhana LLP
656.   2:15-cv-02342   Spencer, Theda             3057    Levin Sedran & Berman
657.   2:15-cv-02343   Cloud, Richard E.          2861    Morgan & Morgan Complex
                                                          Litigation Group
658.   2:15-cv-02344   Rowan, Norma R.            2902    Morgan & Morgan Complex
                                                          Litigation Group
659.   2:15-cv-02346   Chesnut, William J.        2816    Morgan & Morgan Complex
                                                          Litigation Group
660.   2:15-cv-02350   Snedeker, Judy A.          2704    Levin Sedran & Berman
661.   2:15-cv-02352   Cooke, Henri E.            2568    Bartimus Frickleton Robertson &
                                                          Goza, PC
662.   2:15-cv-02353   Norris, Kenneth            2985    Morgan & Morgan Complex
                                                          Litigation Group
663.   2:15-cv-02357   Freitas, Florentino        2887    Burke Harvey, LLC; Crumley
                                                          Roberts
664.   2:15-cv-02358   Blakely, Joyce             2586    The Moody Law Firm, Inc.
665.   2:15-cv-02364   Jenkins, Norma V.          3022    Morgan & Morgan Complex
                                                          Litigation Group
666.   2:15-cv-02365   Davenport, Gordon          2709    Brown and Crouppen, PC
667.   2:15-cv-02368   Sitton, James Thad         2835    Shaw Cowart, LLP
668.   2:15-cv-02407   Lane, Betty                2912    The Maher Law Firm
669.   2:15-cv-02419   Smith, Hannelore           3787    Robert J. DeBry & Associates
670.   2:15-cv-02426   Hurley, Richard E.         1664    Herman, Herman & Katz, LLC
671.   2:15-cv-02427   Powell, Loria              3219    Varadi, Hair & Checki LLC;
                                                          Favret & Lea
672.   2:15-cv-02428   Lesley, Deidre             2031    Cory Watson, PC
673.   2:15-cv-02431   Evans, Jimmie              2384    Allen & Nolte, PLLC

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Row     Docket No.       Plaintiff Name          BG ID             Plaintiff Firm
674.   2:15-cv-02434   Ellis-Kemp,               2034    Cory Watson, PC
                       Barbara
675.   2:15-cv-02438   Griffin, Clarence,        2895    Beasley, Allen, Crow, Methvin,
                       Jr.                               Portis & Miles, PC
676.   2:15-cv-02439   McDowell,                 2647    Kennedy Hodges, LLP
                       Douglas
677.   2:15-cv-02440   Forcht, Eugene L.         3945    Aylstock, Witkin, Kreis &
                                                         Overholtz PLLC
678.   2:15-cv-02442   Parkman, Nannie           3003    Schlichter Bogard & Denton, LLP
679.   2:15-cv-02446   Bunce, Bart               2998    Schlichter Bogard & Denton, LLP
680.   2:15-cv-02454   Atkerson, Michael         2926    Levin, Papantonio, Thomas,
                       O.                                Mitchell, Rafferty & Proctor, P.A.
681.   2:15-cv-02458   Lowell, Vicky             3053    Schlichter Bogard & Denton, LLP
682.   2:15-cv-02459   Evans, Robert E.,         2282    Hilliard Munoz Gonzales LLP
                       Sr.
683.   2:15-cv-02464   Adkins, Gloria            3076    Heninger Garrison Davis, LLC
684.   2:15-cv-02468   Schindler, John           3081    Heninger Garrison Davis, LLC
685.   2:15-cv-02469   Moore, George, Jr.        3069    Heninger Garrison Davis, LLC
686.   2:15-cv-02482   Hershberger,              2569    Goza & Honnold, LLC
                       Lowell
687.   2:15-cv-02487   Merkel, Brittany          1206    Avram Blair & Associates, PC
688.   2:15-cv-02488   Boles, Melodia            2236    Morris Bart, LLC
689.   2:15-cv-02506   DeGrasse, Mary L.         1422    Shaw Cowart, LLP
690.   2:15-cv-02510   Barrett, Laura            3052    Levin, Papantonio, Thomas,
                       Easter                            Mitchell, Rafferty & Proctor, P.A.
691.   2:15-cv-02513   Redding, Beverly          26129   Beasley, Allen, Crow, Methvin,
                                                         Portis & Miles, PC
692.   2:15-cv-02514   Clark, Bonnie             2819    Peterson & Associates, PC
693.   2:15-cv-02517   Crist, Melvin Keith       2297    Hilliard Munoz Gonzales LLP
694.   2:15-cv-02518   Hall, Hazel               3086    The Unglesby Law Firm
695.   2:15-cv-02522   Lemon, Carol              2346    Huber, Slack, Thomas, & Marcelle
696.   2:15-cv-02538   Bevans, Wanda             3078    Elkus & Sisson, PC; Aylstock,
                                                         Witkin, Kreis & Overholtz PLLC
697.   2:15-cv-02563   Iacobacci, John           3065    Morgan & Morgan Complex
                                                         Litigation Group
698.   2:15-cv-02566   Gray, Emmett, Jr.         2241    Sanders Law Firm, LLC
699.   2:15-cv-02582   Russell, Patsy            3105    Morgan & Morgan Complex
                                                         Litigation Group

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Row     Docket No.       Plaintiff Name         BG ID             Plaintiff Firm
700.   2:15-cv-02584   Freeman, Josephine       3127    Morgan & Morgan Complex
                                                        Litigation Group
701.   2:15-cv-02596   Adams, Odelia            2525    Meyerkord & Meyerkord, LLC
702.   2:15-cv-02598   Warburton, Paula         2506    The Kelly Firm
703.   2:15-cv-02600   Carlson, Phyllis         2085    NastLaw LLC; Hensley Legal
                                                        Group, PC
704.   2:15-cv-02601   Finkenbinder,            2084    NastLaw LLC; Hensley Legal
                       Frances                          Group, PC
705.   2:15-cv-02605   Abbott, Daniel           1753    Allen & Nolte, PLLC
706.   2:15-cv-02606   D'Aloisio, Ronald        3235    Kershaw, Cutter & Ratinoff, LLP
707.   2:15-cv-02607   Moody, Tina              3155    Jensen & Associates
708.   2:15-cv-02609   Kent, George             2283    The Cochran Firm
                       Russell Lee, Sr.
709.   2:15-cv-02618   Dugo, Denise             2513    Johnson Becker, PLLC
710.   2:15-cv-02620   Davis, Charlotte         2185    Cory Watson, PC
711.   2:15-cv-02625   Lowman, Dolores          4208    Peiffer Wolf Carr & Kane; The
                                                        Michael Brady Lynch Firm;
                                                        Milstein Jackson Fairchild &
                                                        Wade, LLP
712.   2:15-cv-02629   Armell, Karen            1450    Douglas & London, PC
713.   2:15-cv-02635   Foley, William L.        3097    Beasley, Allen, Crow, Methvin,
                                                        Portis & Miles, PC
714.   2:15-cv-02647   Graham, Tracy            2519    Andre' P. LaPlace; Cunard Law
                                                        Firm
715.   2:15-cv-02713   Miles, Wanda M.          2627    Craig S. Watson
716.   2:15-cv-02719   Condon, John             4021    Sommerman & Quesada, LLP
717.   2:15-cv-02726   Bucher, Alvin E.         3166    Hilliard Munoz Gonzales LLP
718.   2:15-cv-02757   Russell, Carlee          1907    Shaw Cowart, LLP
719.   2:15-cv-02762   Gary, Randy              2199    Hare, Wynn, Newell and Newton,
                                                        LLP
720.   2:15-cv-02768   Bean, Charles            3060    Schlichter Bogard & Denton, LLP
721.   2:15-cv-02769   Neller, Judith           3179    Schlichter Bogard & Denton, LLP
722.   2:15-cv-02770   Fiore, Frederick         2566    Zeccola & Selinger, LLC;
                                                        Aylstock, Witkin, Kreis &
                                                        Overholtz PLLC
723.   2:15-cv-02771   Garrison, Mark           2590    Zeccola & Selinger, LLC;
                       Steven                           Aylstock, Witkin, Kreis &
                                                        Overholtz PLLC

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724.   2:15-cv-02772   Hein, Jerolyn S.          2838    Zeccola & Selinger, LLC;
                                                         Aylstock, Witkin, Kreis &
                                                         Overholtz PLLC
725.   2:15-cv-02800   Hines, Chesley,           1561    Martzell & Bickford, APC
                       MD
726.   2:15-cv-02805   Billiot, Elizabeth        2230    Douglas & London, PC; Salim-
                                                         Beasley, LLC
727.   2:15-cv-02814   Buck, Judy                3203    Schlichter Bogard & Denton, LLP
728.   2:15-CV-        Best, John                3181    Ross Feller Casey, LLP; Douglas
       02830                                             & London, PC
729.   2:15-cv-02833   Feltz, Robert             1925    Allen & Nolte, PLLC
730.   2:15-cv-02838   Shepherd, Terry           2224    Cory Watson, PC
731.   2:15-cv-02841   Hufford, Thomas           2867    Zeccola & Selinger, LLC
                       M.
732.   2:15-cv-02843   Davis, Charles C.         2088    NastLaw LLC
733.   2:15-cv-02844   Wurzer, Sandra            2087    NastLaw LLC
734.   2:15-cv-02846   Madison, Lorenzo          3622    Beasley, Allen, Crow, Methvin,
                                                         Portis & Miles, PC
735.   2:15-cv-02862   Rice, Charles             2587    Spangenberg Shibley & Liber,
                                                         LLP
736.   2:15-cv-02865   Jones, Robyn              3096    The Whitehead Law Firm, LLC
737.   2:15-cv-02879   Mitchell, Sandra          3250    Schlichter Bogard & Denton, LLP
738.   2:15-cv-02880   Compton, Henry            3187    The Cerasa Law Firm LLC
739.   2:15-cv-02882   Angel, Christine          3220    Douglas & London, PC
740.   2:15-cv-02921   Lee, Delores              2359    Cory Watson, PC
741.   2:15-cv-02931   Amendt, Lorren            3194    Sanders Law Firm, LLC
742.   2:15-cv-02948   Karnik, Esther            2964    The Cochran Firm
                       Arlene
743.   2:15-cv-02967   Mynyk, Susan              3037    Johnson Becker, PLLC
                       Smith
744.   2:15-cv-02973   Eftaxes, Patricia         1511    Shaw Cowart, LLP
745.   2:15-cv-02975   McEntyre, Melissa         2308    Simon Greenstone Panatier
                       L.                                Bartlett, PC
746.   2:15-cv-02979   Barrere, Glinda           2834    Morris Bart, LLC
747.   2:15-cv-02983   Locklear, Keith           3167    Wilson Law, PA
748.   2:15-cv-02999   Thompson, Carvey          3582    Matthews & Associates
                       L.


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Row     Docket No.       Plaintiff Name          BG ID             Plaintiff Firm
749.   2:15-cv-03015   Tabb, Patricia            3289    Hollis, Wright, Clay & Vail, PC
750.   2:15-cv-03021   Davis, Michael            4680    Kershaw, Cutter & Ratinoff, LLP
751.   2:15-cv-03055   Porter-Oren, Sonja        3591    Andrus Wagstaff, PC
752.   2:15-cv-03062   Youngblood,               2517    English, Lucas, Priest & Owsley,
                       Patricia                          LLP
753.   2:15-cv-03064   Bloodworth, Dan           3209    Morgan & Morgan Complex
                                                         Litigation Group
754.   2:15-cv-03070   Alexander, Janie          3292    Morgan & Morgan Complex
                                                         Litigation Group
755.   2:15-cv-03071   Eastin, Deborah F.        3272    Morgan & Morgan Complex
                                                         Litigation Group
756.   2:15-cv-03072   Haney, George E.,         1748    Shaw Cowart, LLP
                       Jr.
757.   2:15-cv-03073   Euler, Vicky              3285    Ashcraft & Gerel, LLP
758.   2:15-cv-03080   Renders, Thomas           3949    Douglas & London, PC
759.   2:15-cv-03086   Benson, Diane             3142    Morgan & Morgan Complex
                                                         Litigation Group
760.   2:15-cv-03093   Robinson, Johnnie         3208    Morgan & Morgan Complex
                                                         Litigation Group
761.   2:15-cv-03095   Croall, Yvonne            3173    Seeger Weiss LLP
762.   2:15-cv-03100   Hebert, Jo Ann            2730    Burg Simpson Eldredge Hersh &
                                                         Jardine, PC
763.   2:15-cv-03111   Freyer, Kurt              3634    Bertram & Graf, LLC
764.   2:15-cv-03115   Eaton-Spring,             3269    Ross Feller Casey, LLP; Douglas
                       Carole                            & London, PC
765.   2:15-cv-03118   Harris, Bruce             38298   The Talaska Law Firm, PLLC
766.   2:15-cv-03120   Aleshin, Eugene           3043    Grant & Eisenhofer PA
767.   2:15-cv-03122   Collins, Samella          3611    Tautfest Bond PLLC
768.   2:15-cv-03123   Kuykendall,               3247    Morgan & Morgan Complex
                       Pamela                            Litigation Group
769.   2:15-cv-03124   Adcock, Shirley           2741    Simmons Hanly Conroy
770.   2:15-cv-03125   Kelly, Lynn               3165    Burg Simpson Eldredge Hersh &
                                                         Jardine, PC
771.   2:15-cv-03127   Estes, Juanita            3624    Morgan & Morgan Complex
                                                         Litigation Group
772.   2:15-cv-03128   Barreto, Fatima           1233    John Jewell Pace, APLC
773.   2:15-cv-03129   Beckham, Dana             2722    Brown and Crouppen, PC
774.   2:15-cv-03133   Davis, Cora               3215    Weitz & Luxenberg, PC

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775.   2:15-cv-03135   Browning, Talena         2544    English, Lucas, Priest & Owsley,
                       Mae                              LLP
776.   2:15-cv-03159   Whitehead, John H.       3253    Morgan & Morgan Complex
                                                        Litigation Group
777.   2:15-cv-03160   Grimes, Charles          3660    Beasley, Allen, Crow, Methvin,
                                                        Portis & Miles, PC
778.   2:15-cv-03162   Anderson, Leon           3295    Jensen & Associates
779.   2:15-cv-03178   Allen, John David        2622    Hilliard Munoz Gonzales LLP
                       Allen
780.   2:15-cv-03179   Boyd, Gary               3939    Gray & White
781.   2:15-cv-03202   Adams, Stephen           4264    Fears Nachawati, PLLC
782.   2:15-cv-03226   Ardion, Lisa J.          3650    Freedland Harwin Valori, PL
783.   2:15-cv-03233   Austin, Iona             3293    Goza & Honnold, LLC
784.   2:15-cv-03236   McCormick, Kevin         3750    Morgan & Morgan Complex
                                                        Litigation Group
785.   2:15-cv-03239   Milloff, Timothy         3918    Nemeroff Law Firm
786.   2:15-cv-03241   Allen, Brenda            3083    Engstrom, Lipscomb & Lack
787.   2:15-cv-03244   Buch, John               3239    Capretz & Associates
788.   2:15-cv-03247   Clayton, Teddi           3012    The Whitehead Law Firm, LLC
789.   2:15-cv-03273   Hall, Alvin, Sr.         3027    Dyer, Garofalo, Mann & Schulz,
                                                        LPA
790.   2:15-cv-03297   Gravley, Larry           1328    Childers, Schlueter & Smith, LLC
791.   2:15-CV-        Hawkins, Betty           3039    Ross Feller Casey, LLP; Douglas
       03307                                            & London, PC
792.   2:15-cv-03311   West, Sandra             2555    Cory Watson, PC
793.   2:15-cv-03323   Anderson, Norris         2935    Dowd & Dowd, PC
794.   2:15-cv-03328   Tasco, Gwendolyn         3099    The Cochran Firm
                       Marie
795.   2:15-cv-03343   Bennett, Peter           3198    Pittman, Dutton & Hellums, PC
                       Leigh
796.   2:15-cv-03355   Bradshaw, Sharon         3881    McEwen Law Firm, Ltd.
                       K.
797.   2:15-cv-03358   Rice, Howard             3176    Ross Feller Casey, LLP; Douglas
                                                        & London, PC
798.   2:15-cv-03364   Agee, Howard             2481    Douglas & London, PC; Salim-
                                                        Beasley, LLC
799.   2:15-cv-03367   Deming, Leighton         3803    Beasley, Allen, Crow, Methvin,
                       B., Jr.                          Portis & Miles, PC


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800.   2:15-cv-03372   Woodard, Anthony           3010    Martin & Jones, PLLC
801.   2:15-cv-03393   White, Hazel               2664    Morris Bart, LLC
802.   2:15-cv-03395   Whitson, Juanita           2580    Cory Watson, PC
803.   2:15-cv-03397   Adams, Dianne              4460    Meyers & Flowers, LLC
804.   2:15-cv-03403   Harris, Kenneth            2367    Chaffin Luhana LLP
805.   2:15-cv-03413   Lomax, David               1117    Niemeyer, Grebel & Kruse LLC;
                                                          Wagstaff & Cartmell, LLP; Brown
                                                          and Crouppen, PC
806.   2:15-cv-03413   Freund, Samuel             4109    Niemeyer, Grebel & Kruse LLC;
                                                          Wagstaff & Cartmell, LLP; Brown
                                                          and Crouppen, PC
807.   2:15-cv-03413   Snyder, Patricia           6871    Niemeyer, Grebel & Kruse LLC;
                                                          Wagstaff & Cartmell, LLP; Brown
                                                          and Crouppen, PC
808.   2:15-cv-03414   Siravo, Edward             3064    Niemeyer, Grebel & Kruse LLC;
                                                          Flint & Associates, LLC; Brown
                                                          and Crouppen, PC
809.   2:15-cv-03414   Newman, Terry              3072    Niemeyer, Grebel & Kruse LLC;
                                                          Flint & Associates, LLC; Brown
                                                          and Crouppen, PC
810.   2:15-cv-03416   Briggs, Robert D.          2654    Searcy Denney Scarola Barnhart
                                                          & Shipley, PA
811.   2:15-cv-03425   Allmond, Royce             3825    Morgan & Morgan Complex
                                                          Litigation Group
812.   2:15-cv-03427   Burd, Samuel               2875    Morgan & Morgan Complex
                                                          Litigation Group
813.   2:15-cv-03429   Edwards, Juanita           4048    Zimmerman Reed, PLLP
814.   2:15-cv-03453   Costner, William           2290    Hare, Wynn, Newell and Newton,
                                                          LLP
815.   2:15-cv-03465   Raborn, Marsha D.          3629    Johnson Becker, PLLC
816.   2:15-cv-03466   Bannister, Jennifer        3252    The Lanier Law Firm
817.   2:15-cv-03469   Mingo, Dora                3764    Beasley, Allen, Crow, Methvin,
                                                          Portis & Miles, PC
818.   2:15-cv-03477   Krout, Batsheva            2576    Cory Watson, PC
819.   2:15-cv-03479   Taylor, Gary A.            3024    Stephen I. Leshner, PC
820.   2:15-cv-03486   Earfrati-Yakunich,         3813    Matthews & Associates
                       Francis
821.   2:15-cv-03489   Brock, Teresa              2970    Bernstein Liebhard LLP
822.   2:15-cv-03508   Pruitt, Donna              3227    Johnson Becker, PLLC

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823.   2:15-cv-03575   Kramer, Bonita             3920    Bernstein Liebhard LLP
824.   2:15-cv-03615   Castellano,                3204    Johnson Becker, PLLC
                       Anthony
825.   2:15-cv-03624   Hines, Crystal             2900    Cory Watson, PC
826.   2:15-cv-03625   Henry, Donna K.            3911    Lowe Law Group; Flint Law Firm,
                                                          LLC
827.   2:15-cv-03636   Bolding, Christina         3929    Beasley, Allen, Crow, Methvin,
                                                          Portis & Miles, PC
828.   2:15-cv-03642   Blackwell, Carolina 3666           Bernstein Liebhard LLP
829.   2:15-cv-03644   Sams, Jamie                3957    Bernstein Liebhard LLP
830.   2:15-cv-03651   Bard, Carolyn Sue          3852    Hilliard Munoz Gonzales LLP
831.   2:15-cv-03670   Wright, Rosemary           2932    Cory Watson, PC
832.   2:15-cv-03671   Brodowski, Richard 2625            Childers, Schlueter & Smith, LLC
833.   2:15-cv-03675   Dutra, Virginia            9229    Rossman Law Group, PLLC
834.   2:15-cv-03676   Gillette, Patsy            2735    Law Offices of H. Lynn
                                                          Shoemaker; Pope, McGlamry,
                                                          Kilpatrick, Morrison & Norwood,
                                                          PC
835.   2:15-cv-03677   Carlton, Hudson            4065    Radack and Borunda, PC
                       Kenneth
836.   2:15-cv-03678   Rein, David                3281    The Driscoll Firm, PC
837.   2:15-cv-03682   Krebsbach, Kevin           3972    Bernstein Liebhard LLP
838.   2:15-cv-03689   Burger, Peter W.           2914    Jones Ward PLC
839.   2:15-cv-03702   Adair, Jenny               3005    Peiffer Wolf Carr & Kane; The
                                                          Michael Brady Lynch Firm
840.   2:15-cv-03708   Orr, Joseph, Jr.           4579    Capitelli and Wicker; Nicaud &
                                                          Sunseri, LLC; Levin Sedran &
                                                          Berman
841.   2:15-cv-03710   Brumfield, Margie          3618    Murray Law Firm
                       L.
842.   2:15-cv-03766   Winston, Dorothy           4818    The Dilorenzo Law Firm, LLC
                       U.
843.   2:15-cv-03767   Spencer-Foster,            4026    Andrus Wagstaff, PC
                       Roseyana
844.   2:15-cv-03768   Stoddart, Robert C.        3647    Zeccola & Selinger, LLC
845.   2:15-cv-03770   Dooley, Demetrius          3815    The Cochran Firm
                       Michelle
846.   2:15-cv-03773   Luttrell, James F.,        4068    Morris Law Firm
                       Jr.

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847.   2:15-cv-03779   Deitzman, Charles        4052    The Rooth Law Firm, A
                                                        Professional Corporation
848.   2:15-cv-03781   Elliot, Shelby           1485    Douglas & London, PC; Salim-
                                                        Beasley, LLC
849.   2:15-cv-03797   Hogue, James             3951    Douglas & London, PC
850.   2:15-cv-03798   Arseneau, Donald         3914    Sanders Phillips Grossman, LLC
851.   2:15-cv-03802   Barrs, Jessie            3139    The Frankowski Firm, LLC
852.   2:15-cv-03816   Alldaffer, Gerald        3661    Dugan Law Firm, PLC
853.   2:15-cv-03818   Turk, Norbert            3008    The Maher Law Firm
854.   2:15-cv-03820   Crawford, Derrick        4033    Law Offices of Damon D. Kervin,
                                                        APLC; Morrow, Morrow, Ryan &
                                                        Bassett
855.   2:15-cv-03821   Clark, Scherrie Ann 4084         Simon Greenstone Panatier
                                                        Bartlett, PC
856.   2:15-cv-03826   Smith, Egbert            4013    Schlichter Bogard & Denton, LLP
857.   2:15-cv-03827   Staton, Ethel            3077    Reich & Binstock; Morgan &
                                                        Morgan Complex Litigation
                                                        Group
858.   2:15-cv-03831   Gill, Judith H.          4443    Richardson, Patrick, Westbrook &
                                                        Brickman, LLC
859.   2:15-cv-03832   Zayas, Genevieve         1713    Herman, Herman & Katz, LLC
860.   2:15-cv-03833   O'Fallon, JoAnn          3906    Schlichter Bogard & Denton, LLP
861.   2:15-cv-03844   Chabot, Henry            4001    Schlichter Bogard & Denton, LLP
862.   2:15-cv-03872   Smoot, Stephanie         3212    Roberts & Roberts
                       Dawn
863.   2:15-cv-03877   Tallie, Lisa             3217    The Frankowski Firm, LLC
864.   2:15-cv-03879   Carpenter, Nellie        3987    Schlichter Bogard & Denton, LLP
865.   2:15-cv-03880   Taylor, Annie J.         4098    Miller Weisbrod, LLP
866.   2:15-cv-03887   Brown, Gregory           4102    Schlichter Bogard & Denton, LLP
867.   2:15-cv-03889   Reed, Jean               3849    Morgan & Morgan Complex
                                                        Litigation Group
868.   2:15-cv-03891   Goggins, Gertrude        4036    Schlichter Bogard & Denton, LLP
869.   2:15-cv-03892   Hensley, Judy            4181    Phelan Petty, PLC
870.   2:15-cv-03893   Lowe, Tracey             4406    The Kelly Firm
871.   2:15-cv-03895   Lyles, Gayle             3862    Morgan & Morgan Complex
                                                        Litigation Group
872.   2:15-cv-03899   Braswell, Johnny S.      3000    Cory Watson, PC

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Row     Docket No.       Plaintiff Name         BG ID             Plaintiff Firm
873.   2:15-cv-03906   Thomas, Harold           3904    Morgan & Morgan Complex
                                                        Litigation Group
874.   2:15-cv-03910   Tate, Mitchelene         3996    Morgan & Morgan Complex
                                                        Litigation Group
875.   2:15-cv-03923   Davis, Gary G.           6804    Reyes Browne Reilley
876.   2:15-cv-03944   Doan, June               3134    Burke Harvey, LLC; Crumley
                                                        Roberts
877.   2:15-cv-03945   Maggi, Patricia          4111    The Law Offices of Jeffrey S.
                                                        Glassman
878.   2:15-cv-03947   O'Bryan, James D.        1497    Wagstaff & Cartmell, LLP
879.   2:15-cv-03952   Stout, Barbara C.        1389    Brady Law Group; Aylstock,
                                                        Witkin, Kreis & Overholtz PLLC
880.   2:15-cv-03966   Bethel, Guy              3864    Burg Simpson Eldredge Hersh &
                                                        Jardine, PC
881.   2:15-cv-03969   Anderson, Gary           3135    Childers, Schlueter & Smith, LLC
882.   2:15-cv-03979   Larson, David            4083    Matthews & Associates
883.   2:15-cv-03980   Barger, Shayla           4045    Bernstein Liebhard LLP
884.   2:15-cv-03981   Kelley, Paula            41810   Aylstock, Witkin, Kreis &
                                                        Overholtz PLLC; Elkus & Sisson,
                                                        PC; Lewis Legal Services PC
885.   2:15-cv-03982   Kelly, Claudia           4894    Baxter James & Rose, LLP
886.   2:15-cv-03983   Elkins, Tamilia          3595    NastLaw LLC
887.   2:15-cv-03984   Alley, A. Jeanne         3757    NastLaw LLC
888.   2:15-cv-03985   Leit, Jodi Schneider 3715        NastLaw LLC
889.   2:15-cv-03986   Mohler, Rose E.          3744    NastLaw LLC
890.   2:15-cv-03987   Boone, Nina Lovell       3992    Morgan & Morgan Complex
                                                        Litigation Group
891.   2:15-cv-03991   McLeid, Patricia         3921    Morgan & Morgan Complex
                                                        Litigation Group
892.   2:15-cv-03996   Callahan, Brenda         4104    Morgan & Morgan Complex
                                                        Litigation Group
893.   2:15-cv-03999   Wagner, James G.,        3274    Magana, Cathcart & McCarthy
                       Jr.
894.   2:15-cv-04005   Hughes, Marion           2490    Schachter, Hendy & Johnson, PSC
895.   2:15-cv-04009   Wilson, Kimberly         4010    Stark & Stark
                       M.
896.   2:15-cv-04011   Pelayo, Manuel           4085    Simon Greenstone Panatier
                                                        Bartlett, PC
897.   2:15-cv-04012   Boening, Sally O.        4100    Zoll, Kranz & Borgess, LLC

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Row     Docket No.       Plaintiff Name           BG ID             Plaintiff Firm
898.   2:15-cv-04016   York, Stephanie            4862    Peiffer Wolf Carr & Kane; The
                                                          Michael Brady Lynch Firm
899.   2:15-cv-04047   Horn, Jill M.              3811    Kinney, Ellinghausen, Richard &
                                                          Deshazo; Gainsburgh, Benjamin,
                                                          David, Meunier & Warshauer LLC
900.   2:15-cv-04058   McKethan, Jerry            3094    Salvi, Schostok & Pritchard PC
901.   2:15-cv-04076   Bond, Robert               3980    Weitz & Luxenberg, PC
902.   2:15-cv-04085   Goss, Samantha I.          1714    Herman, Herman & Katz, LLC
903.   2:15-cv-04086   Hardin, Richard A.         4187    Beasley, Allen, Crow, Methvin,
                                                          Portis & Miles, PC
904.   2:15-cv-04087   Cheshire, James            3125    Pope, McGlamry, Kilpatrick,
                       Raymond                            Morrison & Norwood, PC
905.   2:15-cv-04089   Sullivan, Della            3903    Chaffin Luhana LLP
906.   2:15-CV-        Foulcard, Lydia            3662    The Dugan Law Firm, APLC
       04090
907.   2:15-cv-04122   Isaacs, Gary               4099    Bernstein Liebhard LLP
908.   2:15-cv-04129   Diamanti, Robert           3843    The Moody Law Firm, Inc.
909.   2:15-cv-04144   Bounds, Mary E.            3216    Morris Bart, LLC
910.   2:15-cv-04151   Dabon, Gaddian             4288    Stanga & Mustian, PLC
911.   2:15-cv-04153   Black, Gordon              4118    Nemeroff Law Firm
912.   2:15-cv-04154   Tujague, Beverly           4009    Hilliard Munoz Gonzales LLP
913.   2:15-cv-04156   Humphrey, Jeffrey          4110    Bernstein Liebhard LLP
914.   2:15-cv-04159   Melson, Margaret           3909    Johnson Becker, PLLC
                       (Elizabeth) Norton
915.   2:15-cv-04168   Little, Jackie, Sr.        2270    John Jewell Pace, APLC
916.   2:15-cv-04179   Frey, Marlene I.           3892    Levin, Papantonio, Thomas,
                                                          Mitchell, Rafferty & Proctor, P.A.
917.   2:15-cv-04185   Adams, Bennie L.           5288    Howard & Reed
918.   2:15-cv-04253   Wood, Ralph                4153    Wexler Wallace LLP
919.   2:15-cv-04271   Jernigan, Billie           5122    Bailey & Greer, PLLC
                       Marie
920.   2:15-cv-04273   Adams, Kimberly            4427    Sanders Phillips Grossman, LLC
921.   2:15-cv-04310   Beaver, Richard            3141    The Levensten Law Firm, PC
922.   2:15-cv-04334   Bueno, Rosie               3009    John Jewell Pace, APLC
923.   2:15-cv-04335   Coleman, Joel              4202    Douglas & London, PC
924.   2:15-cv-04353   Ramirez, Odilia            3984    Heninger Garrison Davis, LLC

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Row     Docket No.       Plaintiff Name          BG ID             Plaintiff Firm
925.   2:15-cv-04371   Hill, David S.            4258    Kennedy Hodges, LLP
926.   2:15-cv-04398   Conklin, Elizabeth        3869    Watts Guerra LLP
927.   2:15-cv-04406   Antilley, Patricia        3754    Andre' P. LaPlace; Cunard Law
                                                         Firm
928.   2:15-cv-04424   Crislip-Douglass,         4493    Tautfest Bond PLLC
                       Judy
929.   2:15-cv-04434   Talsma, Nelson            3264    Varnum LLP
930.   2:15-cv-04437   Stephenson, Dawn          3795    Johnson Becker, PLLC
                       P.
931.   2:15-cv-04445   Deering, William          5142    Douglas & London, PC
932.   2:15-cv-04475   McLean, Elizabeth         3228    Flint & Associates, LLC
933.   2:15-cv-04491   Bond, Margaret            4583    Wexler Wallace LLP
934.   2:15-cv-04498   Palermo, Barbara          4505    Morgan & Morgan Complex
                                                         Litigation Group
935.   2:15-cv-04501   Baker, Edward             4479    Morgan & Morgan Complex
                                                         Litigation Group
936.   2:15-cv-04512   Talady, Harry             4557    Morgan & Morgan Complex
                                                         Litigation Group
937.   2:15-cv-04529   Ely, Tracy L.             4550    Ashcraft & Gerel, LLP
938.   2:15-cv-04532   Davis, Ronald             4076    The Orlando Firm, PC
939.   2:15-cv-04535   Redler, Milbre            3873    Watts Guerra LLP
940.   2:15-cv-04565   Pisko, Dolores            3266    Cory Watson, PC
941.   2:15-cv-04574   Blosser, Helen            4059    Peiffer Wolf Carr & Kane; The
                                                         Michael Brady Lynch Firm
942.   2:15-cv-04586   Hill, Wilbur              4112    The Cochran Firm
943.   2:15-cv-04589   James, Al J.              4656    Tautfest Bond PLLC
944.   2:15-cv-04641   Maness, Kenneth           3284    Motley Rice LLC
                       Wayne
945.   2:15-cv-04642   Johnston, Jeffrey         4528    Morgan & Morgan Complex
                                                         Litigation Group
946.   2:15-cv-04643   Ohanian, Mary             4515    Bernstein Liebhard LLP
947.   2:15-cv-04647   Fansler, Amy              4849    Peiffer Wolf Carr & Kane; The
                                                         Michael Brady Lynch Firm;
                                                         Milstein Jackson Fairchild &
                                                         Wade, LLP
948.   2:15-cv-04649   Abjecker, Isaac           7731    Diez-Arguelles & Tejedor, PA
949.   2:15-cv-04658   Loyd, Kim                 4601    Kershaw, Cutter & Ratinoff, LLP


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Row     Docket No.       Plaintiff Name          BG ID             Plaintiff Firm
950.   2:15-cv-04684   Crawford, Karen           2663    Huber, Slack, Thomas, & Marcelle
951.   2:15-cv-04766   Faulk, Timothy M.         4507    Ferrer, Poirot & Wansbrough
952.   2:15-cv-04769   Edwardson, Arthur,        4269    Beasley, Allen, Crow, Methvin,
                       Jr.                               Portis & Miles, PC
953.   2:15-cv-04774   Hodges, Frank C.,         4621    Miller Weisbrod, LLP
                       Jr.
954.   2:15-cv-04779   Lee, Belinda              4846    R. Brent Cueria
955.   2:15-cv-04792   Mora, Patricia            2858    Aylstock, Witkin, Kreis &
                                                         Overholtz PLLC
956.   2:15-cv-04793   Renfro, Charles M.        2533    Aylstock, Witkin, Kreis &
                                                         Overholtz PLLC
957.   2:15-cv-04797   Kaiser, Daniel            4604    Bernstein Liebhard LLP
958.   2:15-cv-04809   Maichel, Jack             3959    Spangenberg Shibley & Liber,
                                                         LLP
959.   2:15-cv-04814   Brannon, Maliene          2456    Huber, Slack, Thomas, & Marcelle
960.   2:15-cv-04824   Grandstaff, Evelyn        5049    Kabateck Brown Kellner, LLP
961.   2:15-cv-04825   Andrews, Betty            3718    Flint Law Firm, LLC
962.   2:15-cv-04836   Curran, Lucinda           4617    Ross Feller Casey, LLP; Douglas
                                                         & London, PC
963.   2:15-cv-04837   Adams, Charlotte          4632    Ferrer, Poirot & Wansbrough
964.   2:15-cv-04855   Davis, Cynthia D.         4860    Aylstock, Witkin, Kreis &
                                                         Overholtz PLLC
965.   2:15-cv-04865   Copeland, Joseph          3766    Irpino Law Firm
966.   2:15-cv-04871   Choroszy, Susan           4821    Watts Guerra LLP
967.   2:15-cv-04872   McGruder, Fronia          4819    Morgan & Morgan Complex
                                                         Litigation Group
968.   2:15-cv-04875   Brown, Hirley             4645    Morgan & Morgan Complex
                                                         Litigation Group
969.   2:15-cv-04876   Holmes-Borussard,         3942    Johnson Becker, PLLC
                       Sylyia J.
970.   2:15-cv-04877   Hopkins, George           4826    Morgan & Morgan Complex
                                                         Litigation Group
971.   2:15-cv-04878   Milan, Frances            4838    Morgan & Morgan Complex
                                                         Litigation Group
972.   2:15-cv-04879   Comer, Betty              6794    Morgan & Morgan Complex
                                                         Litigation Group
973.   2:15-cv-04882   Everson, Phillip          4706    Baron & Budd, PC
974.   2:15-cv-04883   Hector, Sharon            4214    Burke Harvey, LLC
                       Joseph

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Row      Docket No.       Plaintiff Name         BG ID             Plaintiff Firm
975.    2:15-cv-04885   Danenhauer,              4439    Bernstein Liebhard LLP
                        Agatha
976.    2:15-cv-04888   Dixon, Eliza A.          4451    The Johnson Law Group
977.    2:15-cv-04890   Cloud, William           3770    Irpino Law Firm
978.    2:15-cv-04903   Stokely, Mary            4928    Searcy Denney Scarola Barnhart
                        Helen                            & Shipley, PA
979.    2:15-cv-04908   Cook, Alan               4261    Weitz & Luxenberg, PC
980.    2:15-cv-04912   Bumgarden, David         5260    Douglas & London, PC
981.    2:15-cv-04922   Polansky, Marilyn        4906    Milstein Jackson Fairchild &
                                                         Wade, LLP
982.    2:15-cv-04930   Nelson, Luther           4946    Pierce Skrabanek, PLLC
983.    2:15-cv-04931   Brewer, Patricia         3199    The Lanier Law Firm
984.    2:15-cv-04934   Bellah, Crystal          5205    Fears Nachawati, PLLC
985.    2:15-cv-04936   Loyer, Richard           3684    Cory Watson, PC
986.    2:15-cv-04938   Anderson, Reinhart       4834    McGowan, Hood & Felder, LLC
987.    2:15-cv-04942   Pouey, John              6430    Palazzo Law Firm; Capitelli and
                                                         Wicker
988.    2:15-cv-04944   Mills, Shirley           4956    Heninger Garrison Davis, LLC
989.    2:15-cv-04945   Souza, Debra K.          4659    Zeccola & Selinger, LLC
990.    2:15-cv-04959   Baldwin, Barbara         3884    Burnett Law Firm
991.    2:15-cv-04960   Brostek, Mary Ann        4005    Burnett Law Firm
992.    2:15-cv-04980   Thornton, Marvin         4941    Morgan & Morgan Complex
                                                         Litigation Group
993.    2:15-cv-04982   Koontz, Joseph           4156    Burnett Law Firm
994.    2:15-cv-04983   Corisis, David           3999    Robert J. DeBry & Associates
995.    2:15-cv-04987   Boutin, Elizabeth        4957    Morgan & Morgan Complex
                                                         Litigation Group
996.    2:15-cv-05009   Abrams, Helen            3857    Williams Hart Boundas Easterby,
                                                         LLP
997.    2:15-cv-05013   Barber, Patrick          3129    The Maher Law Firm
998.    2:15-cv-05017   Boney, Margaret          4891    Bernstein Liebhard LLP
                        Bostic
999.    2:15-cv-05019   Spears, Jeff             4297    The Kelly Firm
1000.   2:15-cv-05039   Troxtell, Ronald         3896    The Maher Law Firm
1001.   2:15-cv-05055   Prince, Kathy            4260    Ross Feller Casey, LLP; Douglas
                                                         & London, PC

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1002.   2:15-cv-05060   Mascaro, Frances         4217    Morris Bart, LLC
1003.   2:15-cv-05061   Whidden, Kirby           5159    Searcy Denney Scarola Barnhart
                                                         & Shipley, PA
1004.   2:15-cv-05063   Dowling, Jane            7002    Reyes Browne Reilley
1005.   2:15-cv-05071   Cromwell, Donald,        5221    Law Offices of Jeffrey S.
                        III                              Glassman, LLC
1006.   2:15-cv-05076   Pace, Mary Ann           4613    The Cochran Firm
1007.   2:15-cv-05077   Thurman, Judith          5069    The Kelly Firm
1008.   2:15-cv-05082   Goldsmith, Sam           5068    Tautfest Bond PLLC
1009.   2:15-cv-05085   Parks, Todd              4434    Burg Simpson Eldredge Hersh &
                                                         Jardine, PC
1010.   2:15-cv-05107   Moore, Bridget           5108    Morgan & Morgan Complex
                                                         Litigation Group
1011.   2:15-cv-05114   Mitchell, Thomas         3895    Cory Watson, PC
1012.   2:15-cv-05116   Burdine, Rochelle        5092    Morgan & Morgan Complex
                                                         Litigation Group
1013.   2:15-cv-05117   Rosenberger,             5102    Morgan & Morgan Complex
                        Kimberly                         Litigation Group
1014.   2:15-cv-05130   Schleicher, Gail         4031    Ury & Moskow, LLC
1015.   2:15-cv-05148   Caraway, William         4483    Peiffer Wolf Carr & Kane; The
                                                         Michael Brady Lynch Firm
1016.   2:15-cv-05149   Dews, Bettie A.          5111    Tautfest Bond PLLC
1017.   2:15-cv-05151   Betchik, Patrick         4536    Childers, Schlueter & Smith, LLC
1018.   2:15-cv-05152   Chaouch, Mostafa         5153    Thornton Law Firm LLP
1019.   2:15-cv-05155   Bloch, Carmelita         3923    Cory Watson, PC
1020.   2:15-cv-05172   Solito, Joy              4646    Kennedy Hodges, LLP
1021.   2:15-cv-05174   Mitrani, Cesare          5116    Wexler Wallace LLP
1022.   2:15-cv-05175   Griffin, Willard         5074    Ross Feller Casey, LLP; Douglas
                                                         & London, PC
1023.   2:15-cv-05177   Palmer, James            3932    The Moody Law Firm, Inc.
1024.   2:15-cv-05193   Reid, Joyce              3938    Cory Watson, PC
1025.   2:15-cv-05204   Joyner, Mary Kate        4805    Levin, Papantonio, Thomas,
                                                         Mitchell, Rafferty & Proctor, P.A.
1026.   2:15-cv-05211   Jack, Tharon             5110    Douglas & London, PC
1027.   2:15-cv-05220   Arnold, Karen            5041    Seeger Weiss LLP
1028.   2:15-cv-05223   Ferguson, Tess           3830    The Moody Law Firm, Inc.


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1029.   2:15-cv-05232   Dreszer, Moises,         4663    Cunard Law Firm
                        M.D.
1030.   2:15-cv-05234   Choice, Althea           4944    Roberts & Roberts
1031.   2:15-cv-05267   Poppell, Ernest          5244    Morgan & Morgan Complex
                                                         Litigation Group
1032.   2:15-cv-05268   Wright, Arnold           5186    Morgan & Morgan Complex
                                                         Litigation Group
1033.   2:15-cv-05269   Crawford, Cliona         6919    Louis Thaler, PA
                        Walshe
1034.   2:15-cv-05271   Sudduth, Rebecca         5155    Langston & Lott, PA
1035.   2:15-cv-05272   Alford, Mary             5197    Morgan & Morgan Complex
                                                         Litigation Group
1036.   2:15-cv-05294   Sandifer, Erman          4595    Ross Feller Casey, LLP; Douglas
                                                         & London, PC
1037.   2:15-cv-05305   Simpson, Frank           4871    Burg Simpson Eldredge Hersh &
                                                         Jardine, PC
1038.   2:15-cv-05322   Edwards, Elizabeth       4709    Onderlaw, LLC (fka Onder,
                        C.                               Shelton, O'Leary & Peterson,
                                                         LLC)
1039.   2:15-cv-05357   Berry, Stephanie         5251    Heninger Garrison Davis, LLC
1040.   2:15-cv-05360   Williams, Ruth           4029    Andre' P. LaPlace
                        Delores
1041.   2:15-cv-05373   Prejean, Valarie         3769    Irpino Law Firm
1042.   2:15-cv-05374   Sallee, Arnold           4661    Dowd & Dowd, PC
1043.   2:15-cv-05375   Creel, Doris             3767    Irpino Law Firm
1044.   2:15-cv-05377   Spears, August           4018    The Moody Law Firm, Inc.
1045.   2:15-cv-05378   Penn, Terry              3778    Irpino Law Firm
1046.   2:15-cv-05379   Colbert, Gerald          3771    Irpino Law Firm
1047.   2:15-cv-05380   Herbert, Larae           3775    Irpino Law Firm
1048.   2:15-cv-05381   Hildreth, Tracy          3776    Irpino Law Firm
1049.   2:15-cv-05384   Murray, Margaret         3777    Irpino Law Firm
1050.   2:15-cv-05385   Wiley, Dennis            3779    Irpino Law Firm
1051.   2:15-cv-05386   Hernandez, Hernell       3774    Irpino Law Firm
1052.   2:15-cv-05387   Surphin, Patricia        3773    Irpino Law Firm
1053.   2:15-cv-05388   Dewalt, Richard          3772    Irpino Law Firm
1054.   2:15-cv-05400   Graham, Steve            1686    Herman, Herman & Katz, LLC


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1055.   2:15-cv-05404   Hernandez, Janet         4142    Engstrom, Lipscomb & Lack
1056.   2:15-cv-05411   Peach, Christina         2878    Shaw Cowart, LLP
                        Kaeding
1057.   2:15-cv-05415   Dickinson, Norma         4307    Goza & Honnold, LLC
1058.   2:15-cv-05420   Smith, Brenda            6752    Douglas & London, PC
1059.   2:15-cv-05441   Byrne, Gloria            5224    Beasley, Allen, Crow, Methvin,
                                                         Portis & Miles, PC
1060.   2:15-cv-05458   Hembree, Cynthia         4462    Levin Sedran & Berman
1061.   2:15-cv-05465   Perkins, Esther          5258    Morgan & Morgan Complex
                                                         Litigation Group
1062.   2:15-cv-05466   Dombroski,               5266    Morgan & Morgan Complex
                        Phileshia                        Litigation Group
1063.   2:15-cv-05467   Stitt, Doris             5219    Morgan & Morgan Complex
                                                         Litigation Group
1064.   2:15-cv-05481   Harr, Molly Ann          4522    Levin Sedran & Berman
1065.   2:15-cv-05482   Shelton, Beaumont        3282    The Driscoll Firm, PC
1066.   2:15-cv-05483   Mullen, Cynthia          4667    Simon Greenstone Panatier
                                                         Bartlett, PC
1067.   2:15-cv-05484   Dobbs, Loye E.           3214    Shaw Cowart, LLP
1068.   2:15-cv-05490   Bradley, Dorothy         4158    The Maher Law Firm
1069.   2:15-cv-05491   Blount, Eunice           2954    Huber, Slack, Thomas, & Marcelle
1070.   2:15-cv-05494   Wright, Fredrick         6427    Shockey & Associates
                        Tyrone
1071.   2:15-cv-05495   Bray, Robert             6542    Slater, Slater Schulman, LLP;
                                                         Douglas & London, PC
1072.   2:15-cv-05500   Abrams, Michelle         4487    The Mulligan Law Firm
1073.   2:15-cv-05506   Ekey, Jack E.            5070    Ashcraft & Gerel, LLP
1074.   2:15-cv-05508   Garcia, Christine        4496    Forman Law Offices, PA
1075.   2:15-cv-05513   Camia, Dante             4538    Weitz & Luxenberg, PC
1076.   2:15-cv-05517   Brown, Michael A.        6494    Degaris Law Group, LLC;
                                                         Handler, Henning & Rosenberg,
                                                         LLP
1077.   2:15-cv-05533   Bell, Nancy              4865    Peiffer Wolf Carr & Kane; The
                                                         Michael Brady Lynch Firm
1078.   2:15-cv-05535   Altman, Browne           6717    Varadi, Hair & Checki LLC;
                                                         Favret & Lea
1079.   2:15-cv-05539   Cross, Angel             4533    Allen & Nolte, PLLC



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Row      Docket No.       Plaintiff Name           BG ID             Plaintiff Firm
1080.   2:15-cv-05540   Blasingame,                5404    Heninger Garrison Davis, LLC
                        Geneva
1081.   2:15-cv-05541   Barclay, Adeline           5401    Heninger Garrison Davis, LLC
1082.   2:15-cv-05543   Robertson,                 5395    Heninger Garrison Davis, LLC
                        Kenneth, Jr.
1083.   2:15-cv-05544   Swink, Juliette            3988    The Moody Law Firm, Inc.
1084.   2:15-cv-05545   Pagano, Lydia              5252    Bernstein Liebhard LLP
1085.   2:15-cv-05547   Jernigan, Billie           5193    Heninger Garrison Davis, LLC
1086.   2:15-cv-05548   Hughes, David N.           5101    Wagstaff & Cartmell, LLP
1087.   2:15-cv-05550   Muskett, Giula             5387    Heninger Garrison Davis, LLC
1088.   2:15-cv-05551   Clevenger, Michael         5180    Heninger Garrison Davis, LLC
1089.   2:15-cv-05554   Petroline, Florence        4144    Brown and Crouppen, PC
1090.   2:15-cv-05559   Debruin, Connie L.         4995    Matthews & Associates
1091.   2:15-cv-05560   Dodson, Ethelyn            5382    Tautfest Bond PLLC
1092.   2:15-cv-05561   Watson, Huelee             5118    Sommerman & Quesada, LLP
1093.   2:15-cv-05568   Stotts, Carla              5132    Morgan & Morgan Complex
                                                           Litigation Group
1094.   2:15-cv-05576   Wilson, Barbara A.         4990    Johnson Becker, PLLC
1095.   2:15-cv-05581   Beattie, John              5060    Watts Guerra LLP
1096.   2:15-cv-05582   Delorme-Barton,            6716    Douglas & London, PC
                        Karen
1097.   2:15-cv-05583   Jackson, Walter F.         3596    Shaw Cowart, LLP
1098.   2:15-cv-05585   Dale, Robert               5366    Baron & Budd, PC
1099.   2:15-cv-05590   Pelinsky, Trisha           9925    Lowe Law Group
1100.   2:15-cv-05592   Di Ionna, Gloria           5161    The Lanier Law Firm
1101.   2:15-cv-05602   Noriega, Larry             3931    Goldberg, Weisman & Cairo, Ltd.;
                                                           Meshbesher & Spence, Ltd.
1102.   2:15-cv-05607   Alvarez, Laura             5331    Beasley, Allen, Crow, Methvin,
                                                           Portis & Miles, PC
1103.   2:15-cv-05617   Alexander, Carolyn         5396    Jensen & Associates
1104.   2:15-cv-05637   Bartleson, Max L.          4305    Motley Rice LLC
1105.   2:15-cv-05659   Rollins, Tiffany           5415    Ferrer, Poirot & Wansbrough
                        Ann
1106.   2:15-cv-05664   Anderson, Frances          6470    Aylstock, Witkin, Kreis &
                                                           Overholtz PLLC


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1107.   2:15-cv-05683   Pettis, Edith            6741    Pierce Skrabanek, PLLC
1108.   2:15-cv-05688   Ostendorf, Thomas        10232   The Kollin Firm, LLC
                        L.
1109.   2:15-cv-05691   Celio, Glennis           6677    Gustafson Gluek PLLC
1110.   2:15-cv-05692   Noel, Linda              5394    Schlichter Bogard & Denton, LLP
1111.   2:15-cv-05694   Nicholson, Virginia      5239    Wexler Wallace LLP
1112.   2:15-cv-05702   Cook, Mary               4991    Magana, Cathcart & McCarthy
1113.   2:15-cv-05703   Dwight, Rufus            5165    Seeger Weiss LLP
1114.   2:15-cv-05704   Barbour, Sandra          5237    Martin & Jones, PLLC
                        James
1115.   2:15-cv-05706   Hiltner, William         6439    Schlichter Bogard & Denton, LLP
1116.   2:15-cv-05707   Hinojosa, Yolanda        2979    Huber, Slack, Thomas, & Marcelle
1117.   2:15-cv-05709   Cannon, Mary             5200    Johnson Law Group
1118.   2:15-cv-05717   Daniels, Sterling        8313    Stewart & Stewart Attorneys
1119.   2:15-cv-05720   Keeter, Mary             6935    Stewart & Stewart Attorneys
1120.   2:15-cv-05721   Ahring, Michael          4404    Flint Law Firm, LLC
1121.   2:15-cv-05725   Shell, John W.           6749    Stewart & Stewart Attorneys
1122.   2:15-cv-05728   Cunningham,      5195            Murray Law Firm
                        Eugene
1123.   2:15-cv-05733   Newsome, Shannon 7276            Stewart & Stewart Attorneys
                        R.
1124.   2:15-cv-05735   Smith, Kevin     5047            Seeger Weiss LLP
1125.   2:15-cv-05737   Rhoden, Doris            7286    Stewart & Stewart Attorneys
1126.   2:15-cv-05741   Nigbur, Timothy B.       5368    The Cochran Firm
1127.   2:15-cv-05742   Barbee, Barry            6490    Kirkendall Dwyer LLP
1128.   2:15-cv-05744   Waterfield,              6505    Schlichter Bogard & Denton, LLP
                        Douglas
1129.   2:15-cv-05746   Raftery, Donna           1708    Herman, Herman & Katz, LLC
1130.   2:15-cv-05748   Barnes, Thomas           13852   Peiffer Wolf Carr & Kane; The
                                                         Michael Brady Lynch Firm;
                                                         Milstein Jackson Fairchild &
                                                         Wade, LLP
1131.   2:15-cv-05750   Gross, Billy             4393    Douglas & London, PC; Salim-
                                                         Beasley, LLC
1132.   2:15-cv-05751   Marotte, Judy            2328    Huber, Slack, Thomas, & Marcelle


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1133.   2:15-cv-05753   Burkhart, Helen           4962    Murphy Law Firm
1134.   2:15-cv-05757   Freeman, Vernon           5302    Sommerman & Quesada, LLP
1135.   2:15-cv-05759   Applegate, David          6956    John Jewell Pace, APLC
1136.   2:15-cv-05761   Arroliga, Angela          6443    Beasley, Allen, Crow, Methvin,
                                                          Portis & Miles, PC
1137.   2:15-cv-05763   Katz, Reuben              6723    Levin Sedran & Berman
1138.   2:15-cv-05764   Scott, Barbara E.         6726    Levin Sedran & Berman
1139.   2:15-cv-05765   Taylor, Robert            4631    NastLaw LLC
1140.   2:15-cv-05766   Christian, Terry          4675    NastLaw LLC
1141.   2:15-cv-05767   Lopez, Lucy               2336    Huber, Slack, Thomas, & Marcelle
1142.   2:15-cv-05774   Klonowski, James          6828    Peiffer Wolf Carr & Kane; The
                                                          Michael Brady Lynch Firm;
                                                          Milstein Jackson Fairchild &
                                                          Wade, LLP
1143.   2:15-cv-05775   Girshner, Barbara         5201    Zeccola & Selinger, LLC
1144.   2:15-cv-05776   Bormet, Debra             5058    Ferrer, Poirot & Wansbrough
1145.   2:15-cv-05781   Hufford, Joyce            6724    Bernstein Liebhard LLP
1146.   2:15-cv-05788   Savoy, Ruby               6674    Morgan & Morgan Complex
                                                          Litigation Group
1147.   2:15-cv-05789   Philson, Jennie           6703    Morgan & Morgan Complex
                                                          Litigation Group
1148.   2:15-cv-05799   Butler, Linda             7790    The West Law Firm
1149.   2:15-cv-05805   Baker, Rose               4155    Sarangi Law, LLC
1150.   2:15-cv-05810   Pogue, Phyllis            6968    Gustafson Gluek PLLC
1151.   2:15-cv-05811   Deforest, James G.        6795    Searcy Denney Scarola Barnhart
                                                          & Shipley, PA
1152.   2:15-cv-05814   Cruz, Anna                5189    Bernstein Liebhard LLP
1153.   2:15-cv-05815   Paiva, Deborah            5179    Burg Simpson Eldredge Hersh &
                                                          Jardine, PC
1154.   2:15-cv-05825   Thompson, Rodney          4194    The Moody Law Firm, Inc.
1155.   2:15-cv-05835   Varnes, Kenneth           4527    Cory Watson, PC
1156.   2:15-cv-05846   Gilliland, William        5098    Rourke & Blumenthal, LLP
1157.   2:15-cv-05852   Cooper, Claire            6693    Schlichter Bogard & Denton, LLP
1158.   2:15-cv-05857   Guedry, Leonard,          4549    Barrios Kingsdorf & Casteix, LLP
                        Jr.


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Row      Docket No.       Plaintiff Name         BG ID             Plaintiff Firm
1159.   2:15-cv-05874   Fluitt, Ashlie           1916    Domengeaux, Wright, Roy, &
                                                         Edwards, LLC
1160.   2:15-cv-05909   Turner, Joan             6779    Butch Boyd Law Firm
1161.   2:15-cv-05918   Jarman, Patricia         2192    Helmsdale Law, LLP (fka Summit
                                                         Law, LLP)
1162.   2:15-cv-05919   Runge, Clark             6737    The Levensten Law Firm, PC
1163.   2:15-cv-05923   Buck, Cassandra L.       5301    The Kelly Firm
1164.   2:15-cv-05924   Agbaba, Desanka          4666    Grant & Eisenhofer PA
1165.   2:15-cv-05931   Berman, Carolyn          3620    Meyerkord & Meyerkord, LLC
1166.   2:15-cv-05946   Murray, Rosaline         4568    The Moody Law Firm, Inc.
1167.   2:15-cv-05947   Formella, Mary           4472    Shaw Cowart, LLP
                        Louise
1168.   2:15-cv-05951   Croster, Rutha           6695    Ferrer, Poirot & Wansbrough
1169.   2:15-cv-05952   Wellington, Roy          6822    Morgan & Morgan Complex
                                                         Litigation Group
1170.   2:15-cv-05953   Reilly, Joseph           6734    Morgan & Morgan Complex
                                                         Litigation Group
1171.   2:15-cv-05954   Jones, Rita C.           4672    McEwen Law Firm, Ltd.
1172.   2:15-cv-05955   Simonazzi, Denise        6774    Morgan & Morgan Complex
                                                         Litigation Group
1173.   2:15-cv-05958   Mattox, Loretta          6792    Miller Weisbrod, LLP
1174.   2:15-cv-05959   Rowe, Alfred Leon        4585    English, Lucas, Priest & Owsley,
                                                         LLP
1175.   2:15-cv-05960   Green, Carolyn           6762    The Lanier Law Firm
1176.   2:15-cv-05974   Cox, Robert              6481    Potts Law Firm, LLP ; Burnett
                                                         Law Firm
1177.   2:15-cv-05978   DePuydt, Peggy           5280    The Frankowski Firm, LLC
1178.   2:15-cv-05992   Sheppard, Glen           3202    Roberts & Roberts
1179.   2:15-cv-05994   Timm, Patricia           6540    Bernstein Liebhard LLP
1180.   2:15-cv-06014   Thomas, Esther           4993    Morris Bart, LLC
1181.   2:15-cv-06018   Helbert, Tanya L.        6727    Ferrer, Poirot & Wansbrough
1182.   2:15-cv-06073   Correia, Lorraine        9463    Osborne & Francis, PLLC
1183.   2:15-cv-06104   Harper, Paul             4657    Wiggins, Childs, Pantazis, Fisher,
                                                         Goldfarb, LLC; Foote, Mielke,
                                                         Chavez & O’Neil, LLC
1184.   2:15-cv-06111   Gibson, Lloyd            4677    The Moody Law Firm, Inc.


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1185.   2:15-cv-06121   Abbott, Beckie            7588    Peiffer Wolf Carr & Kane; The
                                                          Michael Brady Lynch Firm;
                                                          Milstein Jackson Fairchild &
                                                          Wade, LLP
1186.   2:15-cv-06129   Spiroff, Richard          7105    Ferrer, Poirot & Wansbrough
1187.   2:15-cv-06137   Weaver, Robert            4660    Sommerman & Quesada, LLP
1188.   2:15-cv-06138   Williams, Thomas          4566    Sommerman & Quesada, LLP
1189.   2:15-cv-06148   Morris, John, III         6797    NastLaw LLC
1190.   2:15-cv-06158   Acocella, Louis C.        4089    Hilliard Munoz Gonzales LLP
1191.   2:15-cv-06159   Faltinsky,                6503    Herman, Herman & Katz, LLC
                        Raymond J.
1192.   2:15-cv-06194   Bomark-Noel, Kjell        5147    Simon Greenstone Panatier
                                                          Bartlett, PC
1193.   2:15-cv-06195   Dunbar, Paul              10308   Sizemore Law FIrm
1194.   2:15-cv-06200   Mershon, Beverly          4073    Salvi, Schostok & Pritchard PC
1195.   2:15-cv-06205   Bondurant, Barbara        6800    Ferrer, Poirot & Wansbrough
1196.   2:15-cv-06206   Kinnear, John             2325    Allen & Nolte, PLLC
1197.   2:15-cv-06217   Eppers, Charles           7007    Baron & Budd, PC
1198.   2:15-cv-06220   Blevin, Robert            5113    Morgan & Morgan Complex
                                                          Litigation Group
1199.   2:15-cv-06227   Freeny, Homer, Jr.        6965    Herman Gerel, LLP; Herman,
                                                          Herman & Katz, LLC
1200.   2:15-cv-06231   White, Charles            17503   Morgan & Morgan Complex
                                                          Litigation Group




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